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  Robert T. DeMarco                           116
  Michael S. Mitchell
  12770 Coit Road, Suite 850
  Dallas, TX 75251
  T 972-991-5591
  F 972-346-6791

                               IN THE UNITED STATES BANKRUPTCY COURT
                                      WESTERN DISTRICT OF TEXAS
                                           AUSTIN DIVISION


   IN RE:                                            Case No.:      23-11007-cgb

   ArtiusID, Inc.,                                   Chapter:       7

                                   Alleged Debtor.

                                 DECLARATION OF MICHAEL MARCOTTE

            I, Michael Marcotte, hereby state that I am over eighteen (18) years of age, of sound

  mind, qualified and competent in all respects to make this Declaration, and do so of my own

  personal knowledge, and further state the following:

            1.     I am President and Chief Executive Officer of ArtiusID, Inc., formerly known as

  Q5id, Inc., the Alleged Debtor in the above-styled and numbered case (“ArtiusID”). In this

  capacity, I am generally familiar with the day to day business and financial operations, and books

  and records of the ArtiusID.

            2.     I submit this declaration (“Declaration”) in response to the request of this Court

  as set forth in Scheduling Order entered on April 2, 2024 [Docket Entry No. 45]. Except as

  otherwise indicated, all statements set forth in this Declaration are based upon: (a) information

  supplied to me by other shareholders of ArtiusID, its management or professionals; (b) my review

  of relevant documents; and (c) my opinion based upon my experience and knowledge of the

  ArtiusID’s operations and financial conditions. If called upon to testify, I could and would testify

  to the facts set forth in this Declaration.
23-11007-cgb Doc#48 Filed 04/08/24 Entered 04/08/24 21:35:48 Main Document Pg 2 of
                                       116



         3.      On or about May 22, 2023, ArtiusID was sued by Xmogrify, LLC (“Xmogrify”), in

 the Supreme Court of New York, County of Westchester, case number 57870/2023 (“Xmogrify

 Complaint”). A true and correct copy of the Xmogrify Complaint is attached hereto as Exhibit

 “A”.

         4.      On or about September 8, 2023, ArtiusID filed an Answer to Complaint and

 Counterclaims in response to the Xmogrify Complaint (“Xmogrify Counterclaim”). A true and

 correct copy of the Xmogrify Counterclaim is attached hereto as Exhibit “B” and incorporated

 herein by this reference.

         5.      I am personally familiar with the content of both the Xmogrify Complaint and the

 Xmogrify Counterclaim.

         6.      The Xmogrify Counterclaim presents the following affirmative defenses, which

 affirmative defenses, I adopt and incorporate into this Declaration:

                 •   Xmogrify failed to perform its obligations under the agreements between the
                     parties and is therefore barred from any recovery.
                 •   To the extent that Xmogrify claims are based on any oral agreement or oral
                     amendment to a written agreement, such claims are barred by the Statute of
                     Frauds.
                 •   To the extent Xmogrify has suffered any damages for which the law would
                     provide a remedy, which ArtiusID denies, Xmogrify is not entitled to an award
                     of attorneys' fees.
                 •   Xmogrify claims are barred by the principle of equitable estoppel.
                 •   Xmogrify claims for unjust enrichment is barred as duplicative of Xmofrify’s
                     contract claim.

         7.      The Xmogrify Counterclaim asserts the following counterclaims against Xmogrify,

 which claims I adopt and incorporate into this Declaration:

                 •   Breach of Contract:
                        o ArtiusID and Xmogrify formed an agreement through which Xmogrify
                            would provide certain services to ArtiusID.



  Declaration of Michael Marcotte
23-11007-cgb Doc#48 Filed 04/08/24 Entered 04/08/24 21:35:48 Main Document Pg 3 of
                                       116



                         o Xmogrify did not perform the services it had contracted to perform
                           under the agreement.
                         o ArtiusID performed by making some payments to Xmogrify under the
                           agreement but is relieved of further obligations due to
                           nonperformance and deficient performance.
                         o As a result of this breach, ArtiusID has incurred losses by paying for
                           services that were not performed or were not performed satisfactorily.

                 •   Breach of Confidentiality:
                        o ArtiusID and Xmogrify formed an agreement, which provided that
                            Xmogrify would maintain certain business and proprietary information
                            of ArtiusID in confidence and would not disclose such information
                            publicly.
                        o Xmogrify disclosed confidential information of ArtiusID by publicly
                            filing the Xmogrify Complaint which contained proprietary and
                            confidential business information relating to the business of ArtiusID,
                            including payment records, investor information and business
                            processes and practices.
                        o Further, on or about May 26, 2023, Xmogrify sent an email publicly
                            disclosing confidential information and has threatened to disclose
                            further confidential information.
                        o ArtiusID has been damaged by the public disclosure of its confidential
                            information by Xmogrify.

         8.      On or about May 22, 2023, ArtiusID was sued by Goldstein Consulting Services,

 LLC, (“Goldstein”), in the Supreme Court of New York, County of Bronx, case number

 803962/2023 (“Goldstein Complaint”). A true and correct copy of the Goldstein Complaint is

 attached hereto as Exhibit “C”.

         9.      On or about September 8, 2023, ArtiusID filed an Answer to Complaint and

 Counterclaims in response to the Goldstein Complaint (“Goldstein Counterclaim”). A true and

 correct copy of the Goldstein Counterclaim is attached hereto as Exhibit “D” and incorporated

 herein by this reference.

         10.     I am personally familiar with the content of both the Goldstein Complaint and the

 Goldstein Counterclaim.




  Declaration of Michael Marcotte
23-11007-cgb Doc#48 Filed 04/08/24 Entered 04/08/24 21:35:48 Main Document Pg 4 of
                                       116



         11.     The Goldstein Counterclaim presents the following affirmative defenses, which

 affirmative defenses, I adopt and incorporate into this Declaration:

                 •   Goldstein failed to perform its obligations under the agreements between
                     the parties and is therefore barred from any recovery.
                 •   To the extent that Goldstein claims are based on any oral agreement or oral
                     amendment to a written agreement, such claims are barred by the Statute of
                     Frauds.
                 •   To the extent Goldstein has suffered any damages for which the law would
                     provide a remedy, which ArtiusID denies, Goldstein is not entitled to an
                     award of attorneys' fees.
                 •   Goldstein claims are barred by the principle of equitable estoppel.
                 •   Goldstein claims for unjust enrichment is barred as duplicative of Goldstein’s
                     contract claim.

         12.     The Goldstein Counterclaim asserts the following counterclaims against Goldstein,

 which claims I adopt and incorporate into this Declaration:

                 •   Breach of Contract:
                        o ArtiusID and Goldstein formed an agreement through which Goldstein
                            would provide certain services to ArtiusID.
                        o Goldstein did not perform the services it had contracted to perform
                            under the agreement.
                        o ArtiusID performed by making some payments to Goldstein under the
                            agreement but is relieved of further obligations due to
                            nonperformance and deficient performance.
                        o As a result of this breach, ArtiusID has incurred losses by paying for
                            services that were not performed or were not performed satisfactorily.

                 •   Breach of Confidentiality:
                        o ArtiusID and Goldstein formed an agreement, which provided that
                            Goldstein would maintain certain business and proprietary information
                            of ArtiusID in confidence and would not disclose such information
                            publicly.
                        o Goldstein disclosed confidential information of ArtiusID by publicly
                            filing the Goldstein Complaint which contained proprietary and
                            confidential business information relating to the business of ArtiusID,
                            including payment records, investor information and business
                            processes and practices.
                        o Further, on or about May 26, 2023, Goldstein sent an email publicly
                            disclosing confidential information and has threatened to disclose



  Declaration of Michael Marcotte
23-11007-cgb Doc#48 Filed 04/08/24 Entered 04/08/24 21:35:48 Main Document Pg 5 of
                                       116



                           further confidential information.
                         o ArtiusID has been damaged by the public disclosure of its confidential
                           information by Goldstein.

         13.     On or about May 22, 2023, ArtiusID was sued by Rearc, LLC (“Rearc”), in the

 Supreme Court of New York, County of Westchester, case number 651278/23 (“Rearc

 Complaint”). A true and correct copy of the Rearc Complaint is attached hereto as Exhibit “E”.

         14.     On or about September 8, 2023, ArtiusID filed an Answer to Complaint and

 Counterclaims in response to the Rearc Complaint (“Rearc Counterclaim”). A true and correct

 copy of the Rearc Counterclaim is attached hereto as Exhibit “F” and incorporated herein by this

 reference.

         15.     I am personally familiar with the content of both the Rearc Complaint and the

 Rearc Counterclaim.

         16.     The Rearc Counterclaim presents the following affirmative defenses, which

 affirmative defenses, I adopt and incorporate into this Declaration:

                 •   Rearc failed to perform its obligations under the agreements between the
                     parties and is therefore barred from any recovery.
                 •   To the extent that Rearc claims are based on any oral agreement or oral
                     amendment to a written agreement, such claims are barred by the Statute of
                     Frauds.
                 •   To the extent Rearc has suffered any damages for which the law would provide
                     a remedy, which ArtiusID denies, Rearc is not entitled to an award of attorneys'
                     fees.
                 •   Rearc claims are barred by the principle of equitable estoppel.
                 •   Rearc claims for unjust enrichment is barred as duplicative of Rearc’s contract
                     claim.

         17.     The Rearc Counterclaim asserts the following counterclaims against Rearc, which

 claims I adopt and incorporate into this Declaration:

                 •   Breach of Contract:



  Declaration of Michael Marcotte
23-11007-cgb Doc#48 Filed 04/08/24 Entered 04/08/24 21:35:48 Main Document Pg 6 of
                                       116



                         o ArtiusID and Rearc formed an agreement through which Rearc would
                           provide certain services to ArtiusID.
                         o Rearc did not perform the services it had contracted to perform under
                           the agreement.
                         o ArtiusID performed by making some payments to Rearc under the
                           agreement but is relieved of further obligations due to
                           nonperformance and deficient performance.
                         o As a result of this breach, ArtiusID has incurred losses by paying for
                           services that were not performed or were not performed satisfactorily.

                 •   Breach of Confidentiality:
                        o ArtiusID and Rearc formed an agreement, which provided that Rearc
                            would maintain certain business and proprietary information of
                            ArtiusID in confidence and would not disclose such information
                            publicly.
                        o Rearc disclosed confidential information of ArtiusID by publicly filing
                            the Rearc Complaint which contained proprietary and confidential
                            business information relating to the business of ArtiusID, including
                            payment records, investor information and business processes and
                            practices.
                        o Further, on or about May 26, 2023, Rearc sent an email publicly
                            disclosing confidential information and has threatened to disclose
                            further confidential information.
                        o ArtiusID has been damaged by the public disclosure of its confidential
                            information by Rearc.

                                        B.         Verification

         18.     In accordance with the provisions of 28 U.S.C § 1746, I declare under penalty of

 perjury that the foregoing is true and correct.




  Dated: April 9, 2024                                /s/ Michael Marcotte
                                                      Michael Marcotte




  Declaration of Michael Marcotte
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NYSCEF DOC. NO. 5                                                                                RECEIVED NYSCEF:      05/22/2023




          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF WESTCHESTER

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          Xmogrify, LLC,                                                     Index No. 57870/2023

                                             Plaintiff,
                                                                             COMPLAINT
                                    - against -

          Q5id Inc.,                                                         Plaintiff designates Westchester County
                                                                             as the place of trial.
                                             Defendant.


          --------------------------------------------------------------
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                  Plaintiff Xmogrify, LLC ("Plaintiff' or "Xmogrify"), by and through its undersigned

          counsel, and for its Complaint against defendant Q5id Inc. ("Q5id," the "Company," or

          "Defendant"), alleges as follows:

                                                  NATURE OF THE ACTION

                  1.       Defendant Q5id is a start-up company founded in 2018 and touts itself as "THE

          premiere enterprise cybersecurity software company." In fact, and though Q5id has raised millions

          of dollars from investors, it has failed to pay Plaintiff Xmogrify (and numerous other contractors)

          for the developmental work to build its business. So determined were its officers to enrich

          themselves from investor cash that, despite promising Xmogrify (and other contractors) that they

          would be paid from additional financing and inducing them to work for "free," when the capital

          came in, the officers instead paid themselves unapproved commissions and prioritized paying

          themselves, and paid nothing but lip service to Xmogrify (and other contractors).

                  2.       Xmogrify now brings this action to address Defendant's breach of contract and

          other wrongful conduct, in connection with certainservices Xrnogrify provided to Q5id. Pursuant

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NYSCEF DOC. NO. 5
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          to written agreements, Q5id promised to pay Xmogrify $255 per hour, in exchange for Xmogrify's

           services, as well as any expenses, which would be invoiced bi-weekly and paid within 15 days of

          receipt of the invoice. Beginning in March 2022, Xmogrify performed services in accordance with

          the agreements and as directed by the Company, which services the Company accepted.            The

          Company initially made payments as the parties agreed; however, as time - and Xmogrify's work

          -progressed, Q5id's payments toward the invoices became late, irregular, and intermittent.

                  3.     To excuse its breaches, the Company claimed that it had insufficient capital to pay

          Xmogrify.    However, in order to induce Xmogrify to continue to provide services, Q5id's

          management advised that ihe Company was working diligently to raise capital and repeatedly and

          falsely promised that it would pay all outstanding amounts due once it received a capital infusion.

          In reliance upon the Company's promises, Xmogrify continued to provide services to Q5id through

          early March 2023.

                  4.     On information and belief, the Company has received millions of dollars in funding

          on multiple occasions since July 2022. However, despite due demand and though the Company

          has never objected to a single invoice or the amounts due to Xmogrify, and despite repeated

          promises by management that Xmogrify would be paid in full, Q5id has failed and refused to pay

          Xmogrify for any of the services rendered from August 2022 through March 2023. To date, the

          Company owes $287,812.89, plus interest in an amount to be determined, to Xmogrify.

                  5.     Xmogrify now asserts claims against Defendant for breach of contract, unjust

          enrichment, and account stated.

                                                  THE PARTIES

                  6.     PlaintiffXmogrify is a New York limited liability company with its principal place

          of business at 23 Arden Drive, Hartsdale, New York. It provides technology design, management,



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                                                       2 of   16
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                                               116
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NYSCEF DOC. NO. 5                                                                        RECEIVED NYSCEF:         05/22/2023




          and consulting services. David Levy ("Levy") is one of two principals and is the sole individual

          providing services on behalf of Xmogrify.

                  7.     On information and belief, defendant Q5id is a corporation organized under the

          laws of Oregon, with its headquarters at 801 Barton Springs, Austin, Texas, and 800 Bellevue Way

          NE, Bellevue, Washington. It claims it is a cybersecurity software company that sells software

          and services to protect against fraud, data breaches, and identity theft.

                                           JURISDICTION         AND VENUE

                  8.     Jurisdiction is properly laid in this Court in that the Company is subject to personal

          and specific jurisdiction in New York.

                 9.      The Company has systematic and continuous contacts in New York as it transacts

          business in New York. Specifically, it recruits and solicits numerous independent contractors

          (such as Xmogrify) located in New York, enters into agreements with such contractors to perform

          services on behalf of the Company from New York, and accepts services from such contractors

          which are performed fully, or in large part, in New York.

                  10.    The Company has engaged in and solicited business from at least three independent

          contractors who conduct business in and perform services from New York: (a) Xmogrify, which

          is located in Westchester County, New York; (b) Rearc, LLC ("Rearc"), which has an office in

          New York, New York; and (c) Goldstein Consulting Services, LLC ("GCS"), which is located in

          Bronx County, New York.

                  11.    The Company's communications by, among other things, telephone, text messages,

          and email, with the independent contractors in New York that it solicits and hires takes place in

          New York.




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                                                        3 of    16
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NYSCEF DOC. NO. 5                                                                      RECEIVED NYSCEF:         05/22/2023




                 12.     As alleged below, the Company instructed Xmogrify to communicate on its behalf

          to at least one other contractor it hired, Rearc, which communications took place, in part, in New

          York. In addition, Xmogrify, Rearc, and another New York-based contractor, GCS, worked

          closely together and communicated on an almost daily basis in connection with the services they

          provided to the Company, which communications took place, in part, in New York.

                 13.     Moreover, on information and belief, the Company's management traveled to New

          York in November 2022, to raise capital and solicit investments from investors in New York.

                 14.     Venue is properly laid in Westchester County as the acts and events giving rise to

          the claims set forth herein took place in substantial part in Westchester County. As alleged below,

          the Company transacted business with Xmogrify in Westchester County, New York, beginning in

          March 2022, when it solicited Xmogrify, which is located in Westchester County, to perform

          services for the Company.

                 15.     The parties entered into a written agreement, which was negotiated and executed in

          Westchester County. Xmogrify performed the services under that written agreement, in substantial

          part, from its office located in Westchester County. Xmogrify sent invoices pursuant to that

          written agreement from Westchester County, and the Company made payments to Xmogrify in

          New York.

                 16.     The Company and its management team also had numerous communications with

          and made repeated promises to pay Xmogrify, in accordance with the parties' written agreement,

          while Xmogrify was in Westchester County.

                 17.     Moreover, the written agreement between the Company and Xmogrify contains a

          forum selection clause wherein the parties agreed to "the exclusive jurisdiction of any state or

          federal court located within Westchester, New York and agree that all actions or proceedings



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                                                       4 of   16
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NYSCEF DOC. NO. 5                                                                    RECEIVED NYSCEF:        05/22/2023




          relating to this Agreement shall be litigated in such courts, and waive any objection based on

          improper venue."

                  18.    Xmogrify designates Westchester County as the place of trial.

                  19.    Jurisdiction and venue are proper herein pursuant to New York Civil Rules and

          Practice§§ 301,302, and 503.

                                            FACTUALBACKGROUND

          The Business of Q5id

                  20.    On its website, Q5id touts itself as "THE premiere enterprise cybersecurity

          software company." In fact, Q5id is a start-up that was founded only a few short years ago in

          2018.

                  21.    On information and belief, the Company only has a few dozen employees, and thus

          is deeply reliant on the services of outside, independent contractors to assist in its software,

          business, and technology development.

                  22.    As of early 2022, the Company's "software" was highly ineffectual, replete with

          performance errors and inefficiencies, and could not be launched. Indeed, the Company had no

          marketable product, and as such, it was desperate to hire software and technology experts - like

          Xmogrify - to "fix" the "bugs" and build usable products.

                  23.    At all relevant times, Q5id had nearly 60 independent contractors, including

          Xmogrify.

                  24.    On information and belief, to date, Q5id has no corporate clients, and only has

          "potential clients" that have never provided revenue or user flow. Thus, it relies upon funding

          from investors to keep its business afloat.

          Q5id Enters into a Statement of Work and Master Services Agreement with Xmogrify



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                                                        5 of   16
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NYSCEF DOC. NO. 5                                        116
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                  25.       On March 11, 2022, Q5id and Xmogrify executed a Statement of Work, and the

           following day, on March 12, 2022, executed a corresponding Master Services Agreement

          (together, the "Agreement").

                  26.       Xmogrify originally agreed to provide certain services, including, inter alia,

          assessing the Company's cloud security and providing a gap analysis and offer recommendations

          for cloud security. However, almost immediately after Xmogrify began providing services, in

          March 2022, the Company's then-Chief Information Officer and Chief Technology Officer,

          Rebecca Wanta ("Wanta") and Xmogrify orally agreed to modify the Agreement to change the

          scope of Xmogrif/s      services to staffing and leading the Company's cloud infrastructure team,

          working with prospective customers on integration approaches, and collaborating with the

          Company on its product road mapping and architecture (the "Services").

                  27.       In connection with the Services, Xmogrify also assisted the Company in

          onboarding Rearc, a New York-based boutique consulting firm specializing in, inter alia, cloud

          infrastructure development, to perform other services for the Company. Specifically, Xmogrify

          was tasked with managing the Company's relationship with Rearc, including relaying Company-

          related communications to Rearc's principal, Mahesh Varma ("Varma"), and all of Rearc's

          contractors on the project, who reported to Xmogrify's principal, David Levy ("Levy").

                  28.       In addition, Xmogrify was tasked with working closely with another New York-

          based contractor retained by the Company, GCS and its principal, Kevin Goldstein ("Goldstein").

                  29.       The Company and Xmogrify agreed that Xmogrify would be paid $255 per hour

          for perfonning the Services, and for any expenses that Xmogrify incurred in connection with the

          Services, which would be invoiced bi-weekly, with payment due within fifteen (15) days ofreceipt

          of the invoice.



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                                                       6 of    16
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                                                17           04:54 PM]          INDEX NO. 57870/2023
NYSCEF DOC. NO. 5                                                                      RECEIVED NYSCEF:         05/22/2023




          Q5id Breaches the Agreement

                  30.    Beginning in or about March 2022, Xmogrify began performing the Services and

          subsequently submitted bi-weekly invoices to the Company.

                  31.    Importantly, the Company never objected to a single invoice submitted by

          Xmogrify or any of the amounts sought therein. In fact, for the first few months, it fully paid all

          invoices for the Services and expenses.

                  32.    However, beginning in May 2022, the Company's payment toward the invoices

          became intermittent, with some invoices outstanding for several weeks before they were paid.

                 33.     Levy, on behalf Xmogrify, demanded payment for the overdue invoices.

                 34.     In multiple written and oral communications beginning in mid-July 2022, the

          Company's then-Chief Executive Officer, Steve Larson ("Larson"), and Wanta (i) acknowledged

          that the invoices and the amounts sought therein were correct, (ii) the Company was in breach of

          the Agreement, and (iii) Xmogrify was owed payment. However, they claimed that the Company

          did not have sufficient capital to continue to pay for the Services.

                 35.     The Company knew that Xmogrify would not continue to provide Services unless

          it was paid. As such, in order to induce Xmogrify to continue to provide the Services, Larson and

          Wanta advised Levy that the Company was expecting financing from its ongoing capital raises

          and that he simply "needed more time." Larson and Wanta then promised Levy that if Xmogrify

          "stuck it out," the Company would pay Xmogrify in full as soon as it received the expected capital

          infusion.

                 36.     Indeed, Larson even apologized to Levy for the Company's missed payments.

          Then, in an effort to portray the Company's alleged viability and further induce Xmogrify to

          continue providing the Services, he offered and later provided Xmogrify with stock options.



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                                                        7 of    16
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                                                                                              57870/2023
NYSCEF DOC. NO. 5                                         116
                                                           17                         RECEIVED NYSCEF:        05/22/2023




                  37.     Xmogrify continued to provide Services to Q5id, in good faith and in accordance

           with the Agreement, and in reliance upon the Company's express promises.

                  38.     On information and belief, the Company received more than $2.5 million in funding

           in July 2022; however, rather than paying Xmogrify, the Company's officers, including Larson,

           paid themselves unapproved commissions, and prioritized paying themselves.

                  39.     Indeed, by August 2022, the Company only made partial payments on some

           invoices and failed to pay any portion of other invoices.

           Q5id Makes Repeated and Continuous Promises to Pay Xmogrify in Full

                  40.     From August 2022 through March 2023, the Company continued to make

           numerous oral and written assurances to Levy to induce him to continue providing the Services.

                  41.     The Company fully recognized Xmogrify's value to its brand, as it was only

           through the efforts of Xmogrify (and other contractors that Xmogrify collaborated with) that the

           Q5id's software and other products were launched at all.

                  42.     As such, the Company dangled a "new carrot" in August 2022. Specifically, it

           made Xmogrify's principal, Levy, an offer to join as Vice President, Infrastructure Management

           and Production for a base salary of $350,000 and numerous other benefits (and promised that he

           would receive "a much larger grant," if he joined as an employee). The Company, however,

          reneged on the offer but - as with payment - promised to bring him on board full-time once it

          received funding.

                  43.     On September 30, 2022, during a meeting with Larson, Wanta, and Levy, Larson

          again acknowledged on behalf of the Company - and did not dispute - that substantial payments

          were owed to Xmogrify for the Services, as invoiced. He promised that payment would be made




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                                                        8 of    16
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        23-11007-cgbDoc#48
                      Doc#9-1
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                                                                                         Pg 16
                                                                                            10 of
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                                                 116
                                                   17         04:54 Pij          INDEX NO. 57870/2023
NYSCEF DOC. NO. 5                                                                    RECEIVED NYSCEF:        05/22/2023




          in full by the end of October 2022, once the Company received its expected infusion of needed

          capital.

                     44.   In early November 2022, Larson made similar promises to Levy and stated that

          payment in full would be made by the end of November.

                     45.   On November 14, 2022, the Company's Executive Vice President of Business

          Development and Co-Founder, Dominic O'Diemo traveled to raise capital and solicit investments

          from investors. O'Diemo had dinner with Levy, during which he acknowledged the amounts owed

          to Xmogrify and promised to pay it in full upon receiving additional funding.

                     46.   The Company did not pay Xmogrify, as promised, at the end of November 2022.

          As such, in December 2022, O'Diemo, Larson, and Wanta again promised to pay Xmogrify as

          soon as funding came in.

                     47.   In January 4, 2023, O'Diemo again acknowledged that substantial amounts remain

          owing to Xmogrify, and promised that payment would be made in full.

                     48.   On January 23, 2023, the Company appointed Brian Grant ("Grant") as Chief

          Financial Officer.

                     49.   Thereafter, Grant reached out to Levy to schedule a meeting to discuss the

          outstanding payments to Xmogrify.

                     50.   In the scheduled meeting on February 7, 2023, Grant expressly acknowledged that

          the Company owed hundreds of thousands to Xmogrify.            However, they reiterated that the

          Company needed additional capital and asked that Levy "work with" them by agreeing to a

          payment plan. They also reiterated that the Company would still like to hire Levy as a full-time

          employee and inquired whether he was still interested in joining.




                                                          9


                                                       9 of   16
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                                                                                         Pg 17
                                                                                            11 of
                                                                                  INDEX NO. 57870/2023
[FILED:   WESTCHESTER COUNTY CLERK 05/22/2023   of
                                                 116
                                                   17         04:54 PM]
NYSCEF DOC. NO. 5                                                                      RECEIVED NYSCEF:       05/22/2023




                 51.     The Company's Chief Information Security Officer, Tony Clem ("Clem") also

          made promises and assurances to Levy. In a phone call on February 16, 2023, with Levy, Clem

          also acknowledged the substantial amounts due to Xmogrify. Clem told Levy that, "we've got to

          get you paid and everyone paid, and this isn't right," assured him that he was an "important part

          of the team," and Xmogrify would be paid as soon as the Company received more funding.

                 52.     In a phone call on February 17, 2023, Grant again made another promise that the

          Company would pay Xmogrify for all the outstanding amounts and that he would circulate a

          payment schedule. Grant also promised that payment for Xmogrify's most recent invoice would

          be paid by wire "as soon" as the expected funding was "deposited" into the Company's accounts,

          i.e., "we get the money in, and you'll get paid the day after."

                 53.     On March 2, 2023, in a meeting with all staff titled "All Teams Meeting" Michael

          Marcotte ("Marcotte") announced that the Company had appointed him as Chief Executive Officer

          and that Larson would "continue as an advisor and be spending more time with family."

                 54.     On March 2, 2023, Levy had a call with Marcotte. Marcotte acknowledged the past

          due balance owed to Xmogrify and promised that the balance due would be paid but that they

          "need[ ed] to figure out a plan" And "making the plan was the highest priority."

                 55.     On information and belief, on or about March 2, 2023, the Company received $6

          million in funding. As such, in reliance upon Marcotte's and Grant's repeated promises that Q5id

          would pay Xmogrify the "day after" it received funding, Levy expected payment the following

          day.

                 56.      On March 3, 2023, Levy contacted Grant by text to inquire if payment for

          Xmogrify's most recent invoice would be made by close of business as promised. Grant stated

          that he was working on a plan with Marcotte "today," and that he had received instructions from




                                                       10 of   16
     23-11007-cgb
       23-11007-cgbDoc#48
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                                                                                           12 of
!FILED:  WESTCHESTER COUNTY CLERK 05/22/2023                 04:54 Pij           INDEX NO. 57870/2023
                                               of
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NYSCEF DOC. NO. 5                                                                       RECEIVED NYSCEF:      05/22/2023




          Marcotte, "not to spend any money until he agrees with a plan. But I think your current bill is a

          reasonable ask."

                  57.    After Grant relayed that Marcotte had not approved any payments, Levy called

          Marcotte to demand payment. Again, Marcotte promised that a payment plan would be put

          together as fast as possible, but would not commit to any timeline for doing so or for making

          payments.

                  58.    Neither Marcotte, Grant, nor anyone else at the Company sent a payment plan to

          Xmogrify.

          Q5id Instructs Xmogrijy to Provide Assurances to Other Contractors

                  59.    Contemporaneously with the Company's assurances and promises to Xmogrify, the

          Company requested that Xmogrify communicate with other contractors that the Company had

          retained regarding overdue payments to those contractors.

                  60.    Beginning in June 2022, the Company had stopped paying the invoices of Rearc -

          the entity that Xmogrify was tasked with onboarding - even though Rearc was continuing to

          perform services in accordance with its agreement with the Company.

                  61.    Larson and Wanta requested that Levy communicate with Rearc's principal,

          Varma, and provide assurances on behalf of the Company that it would - as it had promised

          Xmogrify - pay Rearc in full once it received funding.

                  62.    Accordingly, in numerous communications from June 2022 through the end of

          February 2023, Levy, on behalf of the Company, parroted the promises that Q5id had made and

          assured Rearc that it would be paid, so long as it continued to provide services.

                  63.    The communications between Xmogrify and Rearc took place, in part, in New

          York.



                                                           11


                                                       11 of    16
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          WESTCHESTERDoc#9-1
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                                                                                 INDEX NO. 13 of
                                                                                            57870/2023
NYSCEF DOC. NO. 5                                             of
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           The Company Never Pays Xmogrify

                   64.      Q5id did not fully pay Xmogrify for the Services rendered and expenses incurred.

                   65.      As a result of the Company's material breaches, Xmogrify terminated the Services

          as of March 3, 2023.

                  66.       To date, Xmogrify is owed $287,812.89, plus interest, for the Services rendered

          and expenses incurred between August 1, 2022 through March 3, 2023.

          Xmogrify Discovers the Company's Fraudulent Scheme

                  67.       Xmogrify and Levy have since discovered that the Company has engaged in a

          scheme wherein it retains outside contractors to perform services for the Company, breaches their

          agreements with such contractors, and fraudulently induces them to continue providing services

          on the false promise that they would be paid when Q5id receives additional capital.

                  68.       On information and belief, presently, the Company is in breach of at least eleven

          other agreements with outside contractors and other creditors and owe more than $5.5 million

          collectively. 1

                  69.       Xmogrify has also discovered that the stock options granted to it by the Company

          have no present value, and in fact, would require Xmogrify to remit money to the Company if it

          later wishes to exercise any of those options.

                  70.       As such, the stock options do not reduce the total amount owed by the Company to

          Xmogrify for the Services that were provided, accepted, invoiced, and remain unpaid.




                  Two other contractors retained by the Company have commenced lawsuits in the Supreme Court of New
          York. Goldstein Consulting Services, LLC v. Q5id, Inc., et al, Index No. 803962/2023 is pending in Bronx County,
          and Rearc v. Q5id, Inc., et al, Index No. 651278/2023 is pending in New York County.

                                                                12


                                                            12 of    16
      23-11007-cgb
        23-11007-cgbDoc#48
                      Doc#9-1
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                                                                                  lawsuit Pg
                                                                                          Pg 20
                                                                                             14 of
!FILED:   WESTCHESTER COUNTY CLERK 05/22/2023   of
                                                 116
                                                   17         04:54    Pij        INDEX NO. 57870/2023
NYSCEF DOC. NO. 5                                                                       RECEIVED NYSCEF:          05/22/2023




                                            FIRST CAUSE OF ACTION
                                               ACCOUNT STATED

                    71.   Plaintiff re-alleges and incorporates the foregoing paragraphs, as if fully set forth

          herein.

                    72.   Pursuantto the Agreement, Q5id promised to pay Plaintiff $255 per hour in

          exchange for the Services.

                    73.   Plaintiff performed all its obligations under the MSA and performed the Services

          from March 28, 2022 through March 3, 2023, which Services the Company accepted.

                    74.   Plaintiff submitted invoices for the Services, from March 28, 2022 through March

          3, 2023, to the Company.

                    75.   Payment on the invoices was due within fifteen (15) days ofreceipt of the invoices.

                    76.   Each invoice included (i) the date(s) the Services were performed; (ii) the amounts

          due; (iii) and that payment on the invoices was due within fifteen ( 15) days of receipt of the

          mv01ce.

                    77.   Q5id received the invoices from Plaintiff, never objected to any of the issued

          invoices, or the amounts stated therein.

                    78.   On multiple occasions from July 2022 through March 2023, Q5id acknowledged

          that the invoices were true and correct and that the amounts set forth therein were due and owing

          to Plaintiff.

                    79.   On multiple occasions from July 2022 through March 2023, Q5id promised to pay

          the amounts due under the invoices to Plaintiff.

                    80.   Despite demand, the Company has refused to pay the amounts due and owing to

          Plaintiff.




                                                           13


                                                       13 of    16
      23-11007-cgb
        23-11007-cgbDoc#48
                      Doc#9-1
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                                                                                         Pg 21
                                                                                            15 of
                                                                                 INDEX NO. 57870/2023
(FILED:   WESTCHESTER COUNTY CLERK 05/22/2023   of
                                                 116
                                                   17         04:54 P~
NYSCEF DOC. NO. 5                                                                        RECEIVED NYSCEF:         05/22/2023




                    81.   As a result of the foregoing, Plaintiff has been damaged in an amount to be proven

          at trial but no less than $287,812.89, plus interest.

                                           SECOND CAUSE OF ACTION
                                              BREACH OF CONTRACT

                    82.   Plaintiff re-alleges and incorporates the foregoing paragraphs, as if fully set forth

          herein.

                    83.   Plaintiff and Q5id executed the Agreement.

                    84.   Pursuant to the Agreement, Q5id promised to pay Plaintiff $255 per hour in

          exchange for the Services.

                    85.   From March 28, 2022 through March 3, 2023, Plaintiff performed all its obligations

          under the Agreement and provided the Services to the Company.

                    86.   Plaintiff submitted invoices for the Services to the Company, in accordance with

          the Agreement and as directed by the Company.

                    87.   Q5id received the invoices from Plaintiff, never objected to any of the issued

          invoices, or the amounts stated therein, and continued to accept all Services provided by Plaintiff.

                    88.   Q5id materially breached the Agreement by unlawfully failing to pay the full

          amounts due to Plaintiff under the invoices beginning in August 2022.

                    89.   Despite demand, the Company has refused to pay the amounts due and owing to

          Plaintiff.

                    90.   As a result of the foregoing, Plaintiff has been damaged in an amount to be proven

          at trial but no less than $287,812.89, plus interest.




                                                             14


                                                        14   of   16
      23-11007-cgb
        23-11007-cgbDoc#48
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                                                                                         Pg 22
                                                                                            16 of
                                                                                  INDEX NO. 57870/2023
(FILED:   WESTCHESTER COUNTY CLERK 05/22/2023   of
                                                 116
                                                   17         04: 54 PM]
NYSCEF DOC. NO. 5                                                                         RECEIVED NYSCEF:         05/22/2023




                                         THIRD CAUSE OF ACTION
                                IN THE ALTERNATIVE, UNJUST ENRICHMENT

                    91.    Plaintiff re-alleges and incorporates the foregoing paragraphs, as if fully set forth

          herein.

                    92.    From March 28, 2022 through March 3, 2023, Plaintiff performed the Services.

                    93.    Q5id accepted the Services rendered by Plaintiff and was enriched by such Services

          at Plaintiffs expense, as the value of such Services amounted to $255 per hour.

                    94.    Q5id was aware the Plaintiff was not providing the Services gratuitously and that

          the value of such Services amounted to $255 per hour.

                    95.    On multiple occasions since June 2022, Plaintiff has demanded that Q5id pay

          Plaintiff for the Services and since March 2022, has submitted invoices to Q5id for payment.

                    96.    Q5id received the invoices from Plaintiff, acknowledged them, and never objected

          to any of the invoices, or the amounts sought therein.

                    97.    On multiple occasions, Q5id's management promised that Plaintiff and its

          principal, Levy, that it would pay Plaintiff in full once the Q5id received funding from investors.

                    98.    Plaintiff and Q5id had a sufficiently close relationship or connection as to cause

          reliance or inducement by Plaintiff. Plaintiff was an independent contractor for the Company,

          from March 28, 2022 through March 3, 2023.

                    99.    As a result of Q5id's accepting the Services without paying Plaintiff, Plaintiff has

          suffered actual and significant damages. To date, Plaintiff is owed $287,812.89, plus interest for

          the Services rendered from August 2022 through March 3, 2023.

                    100.   It is against equity and good conscience to permit Q5id to retain the amounts due

          to Plaintiff.

                    101.   Equity and good conscience require restitution to Plaintiff.


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                                                        15 of    16
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        23-11007-cgbDoc#48
                      Doc#9-1
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                                                                                         Pg 23
                                                                                  INDEX NO. 17  of
                                                                                             57870/2023
!FILED:   WESTCHESTER COUNTY CLERK 05/22/2023   of
                                                 116
                                                   17         04: 54 PM]
NYSCEF DOC. NO. 5                                                                         RECEIVED NYSCEF:     05/22/2023




                  102.    As a result of the foregoing, Plaintiff has been damaged in an amount to be proven

          at trial but no less than $287,812.89, plus interest.

                                                PRAYER FOR RELIEF

                  WHEREFORE, Plaintiff respectfully requests Judgment against Defendants:

                  (i)     in the amount of $287,812.89, plus pre- and post-judgment interest;

                  (ii)    attorney's fees and the costs of this action;

                  (iii)   and such other and furtherrelief as the Court deems proper.

          Dated: May 22, 2023
                 New York, New York


                                                          LAZAREPOTTER GIACOV AS
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                                                             16


                                                        16 of     16
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                            answer/counterclaim
                                          116    Pg 1 of 27




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                                                                             AppendixPg 25 of
!FILED:   WESTCHESTER COUNTY      answer/counterclaim
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                                    CLERK 09/08/2023   Pg 2 of01:43
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NYSCEF DOC. NO. 10                                                                                RECEIVED NYSCEF:   09/08/2023


          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF WESTCHESTER
          ----------------------------------------------------------------x
          XMOGRIFY, LLC,
                                                 Plaintiff,                        Index No. 57870/2023

                    -against-
                                                                                   ANSWER TO COMPLAINT AND
          Q5ID, INC.,                                                              COUNTERCLAIMS
                                                 Defendant.

          ----------------------------------------------------------------x
          QSID, Inc.,
                                                 Counterclaim-Plaintiff,

                    -against-

          XMOGRIFY, LLC,
                                                 Counterclaim-
                                                 Defendant.
          ----------------------------------------------------------------x

                   Defendant Q5iD, Inc. ("Defendant" or "Q5iD"), by its attorneys Cowan, Liebowitz &

          Latman, P.C., as and for its Answer to the Complaint (the "Complaint") filed by Plaintiff

          Xmogrify, LLC ("Plaintiff' or "Xmogrify") responds to the allegations in the Complaint as

          follows:

                                                    NATURE OF THE ACTIONS

                    1.       Defendant admits that it was founded in 2018 and that it has used the phrase

          "THE premier enterprise cybersecurity software company delivering world-class identity

          management solutions" in certain contexts but denies the remaining allegations contained in

          Paragraph l of the Complaint.

                   2.        Defendant admits that it entered into a contract with Plaintiff wherein Defendant

          agreed to pay Plaintiff in exchange for certain software services to be rendered to Defendant but

          states that Plaintiff failed to perform its obligations under the contract and that no further sums are

          owed to Plaintiff, and, further, the Defendant is entitled to a return of money already paid due to



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                   Doc#48 Doc#9-2
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(FILED:   WESTCHESTER COUNTYanswer/counterclaim
                                    CLERK 09/08/2023
                                                116    Pg 3 of01:43
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NYSCEF DOC. NO. 10                                                                       RECEIVED NYSCEF:        09/08/2023


          the poor quality of Plaintiffs work and Plaintiffs failure to fulfill its obligations and denies the

          remaining allegations contained in Paragraph 2 of the Complaint.

                  3.       Defendant denies the allegations contained in Paragraph 3 of the Complaint.

                  4.       Defendant admits that it has received investor funding in connection with its

          business but denies the remaining allegations contained in Paragraph 4 of the Complaint.

                  5.       Defendants admits that Plaintiff purports to bring claims against Defendant for

          breach of contract,unjust enrichmentand account stated but denies that Plaintiff has established

          such claims and denies liability therefor.

                                                       THE PARTIES

                  6.       Defendants is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 6 of the Complaint.

                  7.       Defendant admits the allegations contained in Paragraph 7 of the Complaint.

                                           JURISDICTION AND VENUE

                  8.       Defendantis without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 8 of the Complaint.

                  9.       Defendant denies the allegations contained in Paragraph 9 of the Complaint.

                  10.      Defendant admits that it is has engaged in business with Plaintiff, Rearc, LLC

          ("Rearc") and Goldstein Consulting Services, LLC ("GCS"), is without knowledge or

          information sufficient to form a belief as to the offices or locations of Plaintiff, Rearc or GCS

          and denies the remaining allegations in Paragraph 10 of the Complaint.

                  11.      Defendantsadmits that it has had certaincommunications with Plaintiff and other

          independent contractors in New York and otherwise denies the allegations contained in

          Paragraph 11 of the Complaint.

                  12.      Defendantis without knowledge or informationsufficient to form a belief as to

          the allegations containedin Paragraph12 of the Complaint.

                                                           -2-
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                   Doc#48 Doc#9-2
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                                  answer/counterclaim
                                                116    Pg 4 of01:43
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NYSCEF DOC. NO. 10                                                                       RECEIVED NYSCEF:         09/08/2023


                   13.      Defendants is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 13 of the Complaint.

                   14.      Defendants is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 14 of the Complaint.

                   15.     Defendant admits that it entered into a written agreement with Plaintiff, is without

          knowledge or information sufficient to form as belief as to the location where Xmogrify

          performed any services or sent invoices and denies the remaining allegations contained in

          Paragraph 15 of the Complaint.

                   16.     Defendant denies the allegations contained in Paragraph 16 of the Complaint.

                  17.      Defendant admits it entered into a written consulting agreement with Plaintiff and

          refers to that agreement for its terms and otherwise denies the remaining allegations contained in

          Paragraph 17.

                  18.      Defendant admits the allegations contained in Paragraph 18 of the Complaint but

          is without knowledge or information sufficient to form a belief as whether such county is an

          appropriate venue for trial.

                  19.      Defendants is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 19 of the Complaint.

                                              FACTUALBACKGROUND

                  20.      Defendant admits that it was founded in 2018 and that it has used the phrase

          "THE premier enterprise cybersecurity software company delivering world-class identity

          management solutions" in certain contexts but denies the remaining allegations contained in

          Paragraph 20 of the Complaint.

                  21.      Defendant denies the allegations contained in Paragraph 21 of the Complaint.

                  22.      Defendant denies the allegations contained in Paragraph 22 of the Complaint.

                  23.      Defendant denies the allegations contained in Paragraph 23 of the Complaint.


                                                            -3-
          00001/579/4363649. I
                                                         3 of     18
      23-11007-cgb
             23-11007-cgb
                   Doc#48 Doc#9-2
                           Filed 04/08/24
                                    Filed 12/19/23
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                                                                     Main Document
                                                                             AppendixPg 28 of
                                                                              INDEX NO. 57870/2023
!FILED:   WESTCHESTER COUNTY        CLERK 09/08/2023
                                  answer/counterclaim
                                                116    Pg 5 of01:43
                                                               27    Pij
NYSCEF DOC. NO. 10                                                                        RECEIVED NYSCEF:      09/08/2023


                  24.       Defendant denies the allegations contained in Paragraph 24 of the Complaint and

          states that Defendant is a startup engaged in product building, marketing and growth.

                  25.       Defendant admits it entered into a written agreement with Plaintiff (the

          "Agreement") and refers to that agreement for its terms and otherwise denies the remaining

          allegations contained in Paragraph 25.

                  26.       Defendant admits it entered into a written agreement with Plaintiff and refers to

          that agreement for its terms and otherwise denies the remaining allegations contained in

          Paragraph 26.

                  27.       Defendant admits that it also retained Rearc and otherwise is without knowledge

          or information sufficient to form a belief as to the remaining allegations contained in Paragraph

          27 of the Complaint.

                  28.       Defendant admits that it also retained GCS and otherwise is without knowledge or

          information sufficient to form a belief as to the remaining allegations contained in Paragraph 28

          of the Complaint.

                  29.       Defendant admits that the Agreement provided that Plaintiff would charge

          Defendant for services rendered at an agreed upon rate and otherwise refers to the Agreement for

          its terms and denies the remaining allegations contained in Paragraph 29 of the Complaint.

                  30.       Defendant admits that it received certain invoices from Plaintiff but denies that

          Plaintiff is entitled to payment in connection with such invoices and further denies the remaining

          allegations contained in Paragraph 30 of the Complaint.

                  31.      Defendant denies the allegations contained in Paragraph 31 of the Complaint and

          further denies that Plaintiff performed the services for which it was invoicing Defendant.

                  32.      Defendant admits that it did not pay the full amount invoiced by Plaintiff and

          states that Defendant did not perform the agreed upon services and otherwise denies the

          remaining allegations contained in Paragraph 32 of the Complaint.


                                                             -4-
          00001/579/4363649. l
                                                          4 of     18
      23-11007-cgb
             23-11007-cgb
                   Doc#48 Doc#9-2
                           Filed 04/08/24
                                    Filed 12/19/23
                                           Entered 04/08/24
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                                                                     Main Document
                                                                             AppendixPg 29
                                                                               INDEX NO.    of
                                                                                         57870/2023
!FILED:   WESTCHESTER COUNTYanswer/counterclaim
                                    CLERK 09/08/2023
                                                116    Pg 6 of01:43
                                                               27    PM)
NYSCEF DOC. NO. 10                                                                     RECEIVED NYSCEF:        09/08/2023



                  33.     Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 33 of the Complaint.

                  34.     Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 34 of the Complaint and denies that Plaintiff is due any

          payment or that Plaintiff performed the invoiced services.

                  35.     Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 35 of the Complaint and denies that Plaintiff is due any

          payment or that Plaintiff performed the invoiced services.

                  36.     Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 36 of the Complaint and denies that Plaintiff is due any

          payment or that Plaintiff performed the invoiced services.

                  37.     Defendant denies the allegations contained in Paragraph 37 of the Complaint.

                  38.     Defendant denies the allegations contained in Paragraph 38 of the Complaint.

                  39.     Defendant denies the allegations contained in Paragraph 39 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                  40.     Defendant denies the allegations contained in Paragraph 40 of the Complaint.

                  41.     Defendant denies the allegations contained in Paragraph 41 of the Complaint.

                  42.     Defendant is without knowledge or information sufficient to form a belief as to

          whether Levy was offered a position as alleged therein and denies the remaining allegations

          contained in Paragraph 42 of the Complaint.

                  43.     Defendant denies the allegations contained in Paragraph 43 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.




                                                          -5-
          00001/579/4363649.1
                                                        5 of    18
      23-11007-cgb
             23-11007-cgb
                   Doc#48 Doc#9-2
                           Filed 04/08/24
                                    Filed 12/19/23
                                           Entered 04/08/24
                                                   Entered 12/19/23
                                                            21:35:4811:40:07
                                                                     Main Document
                                                                             AppendixPg 30 of
!FILED:   WESTCHESTER COUNTY        CLERK 09/08/2023                          INDEX NO. 57870/2023
                                  answer/counterclaim
                                                116    Pg 7 of01:43
                                                               27    PM]
NYSCEF DOC.   NO.   10                                                                   RECEIVED   NYSCEF:    09/08/2023



                    44.     Defendant denies the allegations contained in Paragraph 44 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                    45.     Defendant is without knowledge or information sufficient to form a belief as to

          the whether Dominic O'Dierno travelled to New York at the time alleged and denies the

          remaining allegations contained in Paragraph 42 of the Complaint.

                    46.     Defendant denies the allegations contained in Paragraph 46 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                    4 7.    Defendant denies the allegations contained in Paragraph 4 7 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                    48.     Defendant admits that in or around January 2023 Brian Grant ("Grant") was

          appointed as CFO of the Company and denies the remaining allegations contained in Paragraph

          48 of the Complaint.

                    49.     Defendant is without knowledge or information sufficient to form a belief as to

          allegations contained in Paragraph 49 of the Complaint.

                    50.     Defendant is without knowledge or information sufficient to form a belief as to

          the allegations regarding discussions between Grant and Levy described in Paragraph 50 of the

          Complaint and denies that it owes any outstanding payments to Plaintiff.

                    51.    Defendant is without knowledge or information sufficient to form a belief as to

          the allegations regarding the meeting between Clem and Levy contained in Paragraph 51 of the

          Complaint and denies that it owes any outstanding payments to Plaintiff.




                                                            -6-
          00001/579/4363649. l
                                                         6 of     18
      23-11007-cgb
             23-11007-cgb
                   Doc#48 Doc#9-2
                           Filed 04/08/24
                                    Filed 12/19/23
                                           Entered 04/08/24
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                                                            21:35:4811:40:07
                                                                     Main Document
                                                                             AppendixPg 31 of
!FILED:   WESTCHESTER COUNTY        CLERK 09/08/2023                          INDEX NO. 57870/2023
                                  answer/counterclaim
                                                116    Pg 8 of01:43
                                                               27    Pij
NYSCEF DOC. NO. 10                                                                         RECEIVED NYSCEF:     09/08/2023


                    52.       Defendant is without knowledge or information sufficient to form a belief as to

          the allegations regarding the call described in Paragraph 52 of the Complaint and denies that it

          owes any outstanding payments to Plaintiff.

                   53.        Defendant admits that on or about March 2, 2023, a company meeting was held

          wherein Michael Marcotte introduced himself as CEO of the company and advised that Larson

          would be transitioning to a new role and denies the remaining allegations contained Paragraph 53

          of the Complaint.

                   54.        Defendant denies the allegations contained in Paragraph 54 of the Complaint.

                   55.        Defendant admits that the company received certain funding in March 2023 and

          denies the remaining allegations contained in Paragraph 55 of the Complaint.

                   56.       Defendant is without knowledge or information sufficient to form a belief as to

          the allegations regarding the communications described in Paragraph 56 of the Complaint and

          denies that it owes any outstanding payments to Plaintiff.

                   57.       Defendant denies the allegations contained in Paragraph 57 of the Complaint.

                   58.       Defendant is without knowledge or information sufficient to form a belief as to

          the allegations regarding the communications described in Paragraph 58 of the Complaint and

          denies that it owes any outstanding payments to Plaintiff.

                   59.       Defendant denies the allegations contained in Paragraph 59 of the Complaint.

                   60.       Defendant is without knowledge or information sufficient to form a belief as to

          the allegations regarding the communications described in Paragraph 60 of the Complaint and

          denies that it owes any outstanding payments to Rearc.

                   61.       Defendant is without knowledge or information sufficient to form a belief as to

          the allegations regarding the communications described in Paragraph 61 of the Complaint and

          denies that it owes any outstanding payments to Rearc.




                                                              -7-
          0000 I /579/4363649.1
                                                           7 of     18
      23-11007-cgb
             23-11007-cgb
                   Doc#48 Doc#9-2
                           Filed 04/08/24
                                    Filed 12/19/23
                                           Entered 04/08/24
                                                   Entered 12/19/23
                                                            21:35:4811:40:07
                                                                     Main Document
                                                                             AppendixPg 32 of
!FILED:   WESTCHESTER COUNTY        CLERK 09/08/2023
                                  answer/counterclaim
                                                116    Pg 9 of01:43
                                                               27    Pij      INDEX NO. 57870/2023
NYSCEF DOC. NO. 10                                                                          RECEIVED NYSCEF:      09/08/2023


                   62.       Defendant is without knowledge or information sufficient to form a belief as to

          the allegations regarding the communicationsdescribed in Paragraph 62 of the Complaint and

          denies that it owes any outstanding payments to Rearc.

                   63.       Defendant is without knowledge or information sufficient to form a belief as to

          the allegations regarding the communicationsdescribed in Paragraph63 of the Complaint.

                   64.       Defendant denies the allegations contained in Paragraph 64 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   65.       Defendant admits that Plaintiff did not perform any services for Defendant and

          otherwise denies the remaining allegations contained in Paragraph 65 of the Complaint.

                   66.       Defendant denies the allegations contained in Paragraph 66 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   67.       Defendant denies the allegations contained in Paragraph 67 of the Complaint.

          With respect to the accompanying footnote, Defendant admits that there are pending lawsuits

          involving Defendant and GCS and Rearc and that Defendant denies the allegations contained in

          those complaints and any liability therein.

                   68.       Defendant denies the allegations contained in Paragraph68 of the Complaint.

                   69.       Defendant denies the allegations contained in Paragraph69 of the Complaint.

                   70.       Defendant denies the allegations contained in Paragraph70 of the Complaint.

                                               FIRST CAUSE OF ACTION
                                                    ACCOUNTSTATED

                   71.       Defendant repeats and realleges its responses to Paragraphs 1 - 70 as if fully set

          forthherein.




                                                              -8-
          0000 l /579/4363649.1
                                                           8 of     18
!FILED:23-11007-cgb
              23-11007-cgb
                    Doc#48COUNTY
           WESTCHESTER     Doc#9-2
                            Filed 04/08/24
                                     Filed
                                     CLERK 12/19/23
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                                                                        Main
                                                                        PM! Document
                                                                                AppendixPg 33
                                                                                 INDEX NO.     of
                                                                                            57870/2023
NYSCEF DOC. NO. 10                        answer/counterclaim
                                                       116 Pg 10 of 27                    RECEIVED NYSCEF:         09/08/2023


                   72.      Defendant denies the allegations contained in Paragraph 72 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   73.      Defendant denies the allegations contained in Paragraph 73 of the Complaint.

                   74.      Defendant denies the allegations contained in Paragraph 74 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   75.      Defendant denies the allegations contained in Paragraph 75 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   76.      Defendant denies the allegations contained in Paragraph 76 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do and further states that the invoices submitted by Plaintiff failed to set

          forth the details of the services allegedly performed.

                   77.      Defendant denies the allegations contained in Paragraph 77 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do and further states that the invoices submitted by Plaintiff failed to set

          forth the details of the services allegedly performed.

                   78.      Defendant denies the allegations contained in Paragraph 78 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   79.      Defendant denies the allegations contained in Paragraph 79 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.




                                                           -9-
           00001/579/4363649. I
                                                        9 of     18
      23-11007-cgb
             23-11007-cgb
                   Doc#48 Doc#9-2
                           Filed 04/08/24
                                    Filed 12/19/23
                                           Entered 04/08/24
                                                   Entered 12/19/23
                                                            21:35:4811:40:07
                                                                     Main Document
                                                                             AppendixPg 34 of
                                                                              INDEX NO. 57870/2023
!FILED:   WESTCHESTER COUNTY        CLERK 09/08/2023
                                                116 Pg 11 of01:43
                                  answer/counterclaim          27    Pij
NYSCEF DOC. NO. 10                                                                         RECEIVED NYSCEF:        09/08/2023


                    80.       Defendant denies the allegations contained in Paragraph 80 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   81.       Defendant denies the allegations contained in Paragraph 81 of the Complaint.

                                             SECOND CAUSE OF ACTION
                                               BREACH OF CONTRACT

                   82.       Defendant repeats and realleges its responses to Paragraphs 1 - 81 as if fully set

          forth herein.

                   83.       Defendant admits the allegations contained in Paragraph 83 of the Complaint.

                   84.       Defendant denies the allegations contained in Paragraph 84 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   85.       Defendant denies the allegations contained in Paragraph 85 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   86.       Defendant denies the allegations contained in Paragraph 86 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do and further states that the invoices submitted by Plaintiff failed to set

          forth the details of the services allegedly performed.

                   87.       Defendant denies the allegations contained in Paragraph 87 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   88.       Defendant denies the allegations contained in Paragraph 88 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.



                                                             -10-
          0000 I /579/4363649.1
                                                          10 of     18
      23-11007-cgb
             23-11007-cgb
                   Doc#48 Doc#9-2
                           Filed 04/08/24
                                    Filed 12/19/23
                                           Entered 04/08/24
                                                   Entered 12/19/23
                                                            21:35:4811:40:07
                                                                     Main Document
                                                                             AppendixPg 35
                                                                              INDEX NO.     of
                                                                                         57870/2023
(FILED:   WESTCHESTER COUNTY        CLERK 09/08/2023
                                                116 Pg 12 of01:43
                                  answer/counterclaim          27    PM]
NYSCEF DOC. NO. 10                                                                        RECEIVED NYSCEF:       09/08/2023


                   89.      Defendant denies the allegations contained in Paragraph 89 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                  90.       Defendant denies the allegations contained in Paragraph 90 of the Complaint.

                                          THIRD CAUSE OF ACTION
                                 IN THE ALTERNATIVE, UNJUST ENRICHMENT

                  91.       Defendant repeats and realleges its responses to Paragraphs l - 90 as if fully set

          forth herein.

                  92.      Defendant denies the allegations contained in Paragraph 92 of the Complaint.

                  93.      Defendant denies the allegations contained in Paragraph 93 of the Complaint.

                  94.      Defendant denies the allegations contained in Paragraph 94 the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                  95.      Defendant denies the allegations contained in Paragraph 95 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                  96.      Defendant denies the allegations contained in Paragraph 96 the Complaint.

                  97.      Defendant denies the allegations contained in Paragraph 97 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                  98.      Defendant denies the allegations contained in Paragraph 98 of the Complaint.

                  99.      Defendant denies the allegations contained in Paragraph 99 of the Complaint.

                  100.     Defendant denies the allegations contained in Paragraph 100 of the Complaint.

                  101.     Defendant denies the allegations contained in Paragraph 101 of the Complaint.

                  102.     Defendant denies the allegations contained in Paragraph l 02 of the Complaint.



                                                            -11-
          0000I/579/4363649. l
                                                         11 of     18
      23-11007-cgb
             23-11007-cgb
                   Doc#48 Doc#9-2
                           Filed 04/08/24
                                    Filed 12/19/23
                                           Entered 04/08/24
                                                   Entered 12/19/23
                                                            21:35:4811:40:07
                                                                     Main Document
                                                                             AppendixPg 36 of
                                                                              INDEX NO. 57870/2023
[FILED:   WESTCHESTER COUNTY        CLERK 09/08/2023
                                                116 Pg 13 of01:43
                                  answer/counterclaim          27    PM]
NYSCEF DOC. NO. 10                                                                        RECEIVED NYSCEF:       09/08/2023


                                     AFFIRMATIVE AND OTHER DEFENSES

                                                      First Defense

                   Plaintiff failed to perform its obligations under the agreements between the parties and is

          therefore barred from any recovery.

                                                     Second Defense

                   To the extent that Plaintiff's claims are based on any oral agreement or oral amendment

          to a written agreement, such claims are barred by the Statute of Frauds.

                                                     Third Defense

                   To the extent Plaintiff has suffered any damages for which the law would provide a

          remedy, which Defendants deny, Plaintiff is not entitled to an award of attorneys' fees.

                                                     Fourth Defense

                   Plaintiffs claims are barred by the principle of equitable estoppel.

                                                      Fifth Defense

                   Plaintiffs claim for unjust enrichment is barred as duplicative of Plaintiff's contract

          claim.

                                                           ***

                   WHEREFORE, Defendant QSiD respectfully requests judgment in its favor, that

          Plaintiff's claims be dismissed in their entirety, an award of attorneys' fees and costs, an award

          of prejudgment and post-judgment interest at the highest rate allowed by law, and such other

          further relief as the Court deems just and proper.




                                                  COUNTERCLAIMS

                   Q5iD, Inc. ("Counterclaim Plaintiff' or "Q5iD"), by its attorneys Cowan, Liebowitz &

          Latman, P.C., brings these counterclaims against Xmogrify, LLC ("Counterclaim Defendant" or

          "Xmogrify") for breach of contract and other agreements between the parties due to Xmogrify's



                                                           -12-
          00001/579/4363649.1
                                                        12 of     18
      23-11007-cgb
             23-11007-cgb
                   Doc#48 Doc#9-2
                           Filed 04/08/24
                                    Filed 12/19/23
                                           Entered 04/08/24
                                                   Entered 12/19/23
                                                            21:35:4811:40:07
                                                                     Main Document
                                                                             AppendixPg 37 of
!FILED:   WESTCHESTER COUNTY        CLERK 09/08/2023                          INDEX NO. 57870/2023
                                                116 Pg 14 of01:43
                                  answer/counterclaim          27    PM)
NYSCEF DOC. NO. 10                                                                       RECEIVED NYSCEF:        09/08/2023


          failure to perform the services required and for breach of the confidentiality provision therein. As

          a result of Xmogrify's breaches, Q5iD seeks a refund of the amounts paid by Q5iD to Xmogrify

          and damages due to breach of confidentiality.

                                                       PARTIES

                   1.       Counterclaim-Plaintiff Q5id is a corporation organized under the laws of Oregon,

          with its headquarters at 801 Barton Springs, Austin, Texas and 800 Bellevue Way NE, Bellevue,

          Washington.

                  2.        Upon information and belief, Counterclaim-Defendant Xmogrify is a New York

          limited liability company with its principal place of business 23 Arden Drive, Hartsdale, New

          York.

                                            JURISDICTION AND VENUE

                  3.        This Court has jurisdiction over this counterclaim pursuant to CPLR § 3019.

                  4.        Venue is proper because Xmogrify is located in Westchester County, New York.

                                                         FACTS

                  5.        Q5iD is an enterprise cybersecurity software identity management company

          providing enterprise technology products.

                  6.        Upon information and belief, Xmogrify is a provider of software services.

                  7.        On March 4, 2022, Q5id and Xmogrify entered into a Mutual Non-Disclosure

          Agreement (the "MNDA"), governing confidential information learned by either party in the

          course of the business transaction that they were at that time planning to enter into (the

          "Transaction").

                  8.        On March 11, 2022, Q5iD entered executed a Statement of Work (the "SOW") with

          Xmogrify, and on March 12, 2022, executed a Master Services Agreement (the "MSA," and

          together with the SOW, the "Agreement").                The Agreement established the terms of the




                                                             -13-
          00001/579/4363649. I
                                                        13   of     18
     23-11007-cgb
            23-11007-cgb
                  Doc#48 Doc#9-2
                          Filed 04/08/24
                                   Filed 12/19/23
                                          Entered 04/08/24
                                                  Entered 12/19/23
                                                           21:35:4811:40:07
                                                                    Main Document
                                                                            AppendixPg 38 of
(FILED:  WESTCHESTER COUNTY        CLERK 09/08/2023                          INDEX NO. 57870/2023
                                               116 Pg 15 of01:43
                                 answer/counterclaim          27    Pij
NYSCEF DOC. NO. 10                                                                     RECEIVED NYSCEF:         09/08/2023


          Transaction that was governed by the MNDA. The MSA explicitly incorporates the MNDA by

          reference.

                  9.       The MNDA included a confidentiality provision that provided that Xmogrify was

          not to disclose any data or information relating to the business of Q5iD that Q5iD would reasonably

          be considered to be proprietary, including business plans related to any financial or strategic

          partnerships, investor information, client records, and information not generally known in the

          industry regarding Q5iD.      Further, such information was deemed confidential regardless of

          whether it was provided before or after the date of the MSA or how it was provided to Xmogrify,

          and such obligations survived the termination of the MSA.

                  10.      During the course of the relationship between Q5iD and Xmogrify, Xmogrify

          submitted invoices to Q5iD notwithstanding that it did not perform the agreed upon services, or,

          alternatively, for services that were deficient, inadequate and not in accordance with standard

          protocols and procedures in the industry.

                  11.      In or around March 2023, Q5iD conducted an internal audit to review the services

          allegedly provided by Xmogrify and for which Xmogrify had been submitting invoices to Q5iD.

          The audit revealed that Xmogrify and its business associates GCS and Xmogrify had not been

          performing the services they had been engaged to perform, and, in the alternative, any services

          that were provided were deficient and substandard. In fact, no work product, artifacts or

          accompanying data, worksheets, manuals or other materials have been provided to Q5iD despite

          Plaintiffs demands for payment.

                  12.      Any payments due to Xmogrify were conditioned upon Xmogrify's performance

          of its obligations under the Agreement or any other contracts upon which Xmogrify relies. Thus,

          Q5iD does not have any payment obligations to Xmogrify and is entitled to a return of sums

          already paid.




                                                         -14-
          00001/579/4363649.1
                                                      14 of     18
      23-11007-cgb
             23-11007-cgb
                   Doc#48 Doc#9-2
                           Filed 04/08/24
                                    Filed 12/19/23
                                           Entered 04/08/24
                                                   Entered 12/19/23
                                                            21:35:4811:40:07
                                                                     Main Document
                                                                             AppendixPg 39
                                                                              INDEX NO.     of
                                                                                         57870/2023
(FILED:   WESTCHESTER COUNTY        CLERK 09/08/2023
                                  answer/counterclaim
                                                116 Pg 16 of 01:43
                                                               27    PM]
NYSCEF DOC. NO. 10                                                                         RECEIVED NYSCEF:       09/08/2023


                   13.       On May 22, 2023, Xmogrify publicly filed the Complaint in this action against

          Q5iD for account stated,breach of contract, and unjust enrichment.

                   14.      In the Complaint, Xmogrify disclosed proprietary and confidential business

          informationrelating to Q5iD in violation of the confidentialityprovision in the MNDA, including

          payment records, investor informationand business processes and practices.

                   15.      Further,on or about May 26, 2023, Xmogrify sent an email to certain persons

          disclosing details regarding the parties' business relationship and the disputes between the parties,

          in breach of the confidentiality provision of the MNDA. Xmogrify has furtherthreatened to reveal

          additional confidential information in an effort to obtain leverage in this dispute.

                   16.      Q5iD's investigation into Xmogrify's conduct is still ongoing and it is likely to find

          additional unauthorized disclosure of confidential and proprietary information in breach of the

          MNDA.

                   17.      As a result of Xmogrify's actions, Q5iD has been damaged and its reputation has

          been harmed, causing damage in an amount to be determined at trial.

                   18.      Xmogrify's unlawful activities have also resulted in irreparable harm and injury to

          Q5iD for which Q5iD has no adequate remedy at law, and Xmogrify must be further restrained to

          prevent further disclosure and harm to Q5iD.

                   19.      As a result of Xmogrify's breach of the MNDA, Q5iD is entitled to an injunction

          prohibiting furtherdisclosure of confidential information and to damages, in an amount to be

          determinedat trial.

                                                        COUNTI
                                                   (Breach of Contract)

                   20.      Q5iD realleges paragraphs1 through 19 above, as fully set forth herein.

                   21.      Q5iD and Xmogrify formed an agreement, the MSA, through which Xmogrify

          would provide certainservices to Q5iD.



                                                            -15-
          0000 l/579/4363649. l
                                                         15 of     18
      23-11007-cgb
             23-11007-cgb
                   Doc#48 Doc#9-2
                           Filed 04/08/24
                                    Filed 12/19/23
                                           Entered 04/08/24
                                                   Entered 12/19/23
                                                            21:35:4811:40:07
                                                                     Main Document
                                                                             AppendixPg 40
                                                                              INDEX NO.     of
                                                                                         57870/2023
!FILED:   WESTCHESTER COUNTY        CLERK 09/08/2023
                                  answer/counterclaim
                                                116 Pg 17 of 01:43
                                                               27    PM]
NYSCEF DOC. NO. 10                                                                           RECEIVED NYSCEF:         09/08/2023


                   22.        Xmogrify did not perform the services it had contracted to perform under the MSA.

                   23.        Q5iD performed by making some payments to Xmogrify under the MSA but is

          relieved of further obligations under the MSA due to GCS' nonperformance and deficient

          performance.

                   24.        As a result of this breach, Q5iD has incurred losses by paying for services that were

          not performed or were not performed satisfactorily.

                   25.       Accordingly, Q5iD is entitled to a return of the amounts paid by Q5iD to Xmogrify.

                                                         COUNT II
                                                 (Breach of Confidentiality)

                   26.

                   27.        Q5iD and Xmogrify formed an agreement, the MNDA, which provided that

          Xmogrify would maintain certain business and proprietary information of Q5iD in confidence and

          would not disclose such information publicly.

                   28.       Xmogrify disclosed confidential information of Q5iD by publicly filing the

          Complaint which contained proprietary and confidential business information relating to the

          business of Q5iD, including payment records, investor information and business processes and

          practices.

                   29.       Further, on or about May 26, 2023, Xmogrify sent an email publicly disclosing

          confidential information and has threatened to disclose further confidential information ..

                   30.       Q5iD has been damaged by the public disclosure of its confidential information by

          Xmogrify in an amount to be determined at trial.

                   31.       As a result of Xmogrify's wrongful conduct, Q5iD has sustained, and will continue

          to sustain, immediate irreparable harm and incalculable monetary loss.




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                                  answer/counterclaim
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NYSCEF DOC. NO. 10                                                                          RECEIVED NYSCEF:     09/08/2023


                                                  PRAYER FOR RELIEF

                  WHEREFORE, Q5iD respectfully demands judgment against Xmogrify and respectfully

          requests that:

                   1.       The Court grant judgment in favor of Q5iD and against Xmogrify on all of

                            Q5iD's claims;

                  2.        The Court issue a permanent injunction against Xmogrify and its officers, agents,

                            subsidiaries, servants, partners, employees, attorneys, and all others in active

                            concert or participation with it:

                            a. requiring Xmogrify to return or destroy all of Q5iD' s Confidential

                                 Information;

                            b. enjoining Xmogrify from using or disclosing Q5iD's Confidential Information

                                 to any party, at any time, and for any reason;

                            c. requiring Xmogrify to provide an accounting of the whereabouts of, and the

                                 names of all persons given access to or who otherwise viewed, Q5iD's

                                 Confidential Information, including all files, data, information removed,

                                 downloaded, transferred or forwarded to any third-parties or unauthorized

                                 employees or contractors,

                            d. requiring Xmogrify to delete all content obtained from QSiD anywhere it may

                                 reside, including the computer system and servers of Xmogrify or on any

                                 other computer, electronic device, or cloud accounts, hard copy documents, or

                                 any other materials in Xmogrify's possession, custody, or control; and

                            e. requiring Xmogrify to provide written certification to Q5iD' s counsel of its

                                 compliance with paragraph (d) above;




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                                    CLERK 09/08/2023
                                  answer/counterclaim          27    Pij
NYSCEF DOC. NO. 10                                                                            RECEIVED NYSCEF:    09/08/2023


                   3.       The Court award Q5iD a judgment against Xmogrify on the above claims in an

                            amount of damages as may be proven at trial, including the disgorgement of any

                            profits, benefits, or compensation received as a result of Xmogrify's misconduct;

                   4.       The Court award of attorneys' fees and costs, an award of prejudgment and post-

                            judgment interest at the highest rate allowed by law, and such other further relief

                            as the Court deems just and proper.

                   5.       The Court grant Q5iD such other and further relief as the Court deems just,

                            equitable, and proper.

          Dated: New York, New York
                   September 8, 2023

                                                                   COWAN LIEBOWITZ & LATMAN, P.C.



                                                                   By:      Isl Meichelle R. MacGregor
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                                                                   Attorneys for Q5id, Inc.
          To:

          Lazare Potter Giacovas & Moyle LLP
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          New York, NY 10017
          Attorneys for XMOGRIFY, LLC




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!FILED:   BRONX COUNTY CLERK 05/22/2023 116     18 05: 01 PM)                INDEX NO. 803962/2023E
NYSCEF DOC. NO. 5                                                                                       RECEIVED NYSCEF:   05/22/2023




          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF BRONX

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          Goldstein Consulting Services, LLC,                                       Index No. 803962/2023

                                                Plaintiff,
                                                                                    COMPLAINT
                                      - against -

          Q5id Inc.,                                                                Plaintiff designates Bronx County as
                                                                                    the place of trial.
                                                Defendant.


          --------------------------------------------------------------        X


                   Plaintiff Goldstein Consulting Services, LLC ("Plaintiff'' or "GCS"), by and through its

          undersigned counsel, and for its Complaint against defendant Q5id Inc. ("Q5id," the "Company,"

          or "Defendant"), alleges as follows:

                                                    NATURE OF THE ACTION

                   1.        Defendant Q5id is a start-up company founded in 2018 and touts itself as "THE

          premiere enterprise cybersecurity software company." In fact, and though Q5id has raised millions

          of dollars from investors, it has failed to pay Plaintiff GCS (and numerous other contractors) for

          the developmental work to build its business. So determined were its officers to enrich themselves

          from investor cash that, despite promising GCS (and other contractors) that they would be paid

          from additional financing and inducing them to work for "free," when the capital came in, the

          officers instead paid themselves unapproved commissions and prioritized paying themselves and

          paid nothing but hp service to GCS (and other contractors).

                   2.       GCS now brings this action to address Defendants' breach of contract and other

          wrongful conduct in connection with certain services GCS provided to Q5id. Pursuant to a written


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                                                                   1 of        17
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        23-11007-cgbDoc#48
                     Doc#9-3
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NYSCEF DOC. NO. 5                                                                      RECEIVED NYSCEF:          05/22/2023




          agreement, Q5id promised to pay GCS on a monthly basis in exchange for certain services,

          beginning      March 2022. GCS fully complied with its obligations and provided services in

          accordance with the agreement, which services the Company accepted. Though the Company

          initially made payments as the parties agreed, beginning in August 2022, it only made partial

          payments to GCS.

                 3.       To excuse its breaches, the Company claimed that it had insufficient capital to pay

          GCS. However, in order to induce GCS to continue to provide services, Q5id's management

          advised that the Company was working diligently to raise capital and repeatedly and falsely

          promised that it would pay all outstanding amounts due once it received a capital infusion. In

          reliance upon the Company's promises, GCS continued to provide services to Q5id through

          November 2022.

                 4.       On information and belief, the Company has received millions of dollars in funding

          on multiple occasions since August 2022. However, despite due demand and though the Company

          has never objected to a single invoice or the amounts due to GCS, and despite repeated promises

          by management that GCS would be paid in full, Q5id has failed and refused to pay GCS for any



          $131        plus interest   an amount to be determined, to GCS.

                 5.       GCS now asserts claims against Defendant for breach of contract, unjust

          enrichment, and account stated.

                                                   THE PARTIES

                 6.                      is a New York limited liability company,       its principal place of

          business at 4445 Post Road,             Bronx, New York. GSC provides software consultancy




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                                                       2 of    17
      23-11007-cgb
       23-11007-cgbDoc#48
                    Doc#9-3
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                                                18  05: 01 PM]               INDEX  NO.  803 962/2023E
NYSCEF DOC. NO. 5                                                                        RECEIVED NYSCEF:         05/22/2023




          services. Its sole owner and principal is Kevin Goldstein ("Goldstein"), who provides all services

          on behalf of GCS.

                 7.       On information and belief, defendant Q5id is a corporation organized under the

          laws of Oregon, with its headquarters at 801 Barton Springs, Austin, Texas, and 800 Bellevue Way

          NE, Bellevue, Washington. It claims it is a cybersecurity software company that sells software

          and services to protect against fraud, data breaches, and identity theft.

                                           .JURISDICTION AND VENUE

                 8.      Jurisdiction is properly laid in this Court in that the Company is subject to personal

          and specific jurisdiction in New York.

                 9.      The Company has systematic and continuous contacts in New York as it transacts

          business in New York. Specifically, it recruits and solicits numerous independent contractors

          (such as GCS) located in New York, enters into agreements with such contractors to perform

          services on behalf of the Company from New York, and accepts services from such contractors

          which are performed fully, or in large part, in New York.

                  l 0.   In addition, the Company's communications by, among other things, telephone,

          text messages, and email, with the independent contractors located in New York that it solicits and

          hires takes place in New York.

                 11.     The Company has engaged in and solicited business from at least three independent

          contractors who conduct business in and perform services from New York: (a) GCS, which is

          located in Bronx County; (b) Rearc, LLC ("Rearc"), which has an office in New York, New York;

          and (c) Xmogrify, LLC ("Xmogrify"), which is located in Westchester County, New York.




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                                                        3 of    17
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!FILED:   BRONX COUNTY CLERK 05/22/2023 116    18 05: 01 PM]                INDEX NO. 803962/2023E
NYSCEF DOC. NO. 5                                                                   RECEIVED NYSCEF:         05/22/2023




                 12.    Xmogrify, Rearc, and GCS worked closely together and communicated on an

          almost daily basis in connection with the services they provided to the Company, which

          communications took place, in part, in New York.

                 13.    Moreover, on information and belief, the Company's management traveled to New

          York in November 2022 to raise capital, and solicit investments from investors in New York.

                 14.    Venue is properly laid in Bronx County as the acts and events giving rise to the

          claims set forth herein took place in substantial part in Bronx County. As alleged below, the

          Company transacted business with GCS in Bronx County, New York, beginning in February 2022,

          when it solicited GCS, which is located in Bronx County, to perform services for the Company.

                 15.    The parties entered into a written agreement, which was negotiated and executed in

          Bronx County, and GCS performed the services under that written agreement from its office

          located in Bronx County. GCS sent invoices pursuant to that written agreement from Bronx

          County, and the Company made payments to GCS in New York.

                 16.    The Company again solicited GCS, while it was in New York to perform services

          for the Company. The parties subsequently entered into a written agreement in or about March

          2022. That written agreement was also negotiated and executed in Bronx County.

                 17.    As alleged below, the Company hired Plaintiffs principal as an employee. From

          January 2023 through March 2023, the work performed by Plaintiffs principal was performed in

          Bronx County, and the Company made payments to him in Bronx County.

                 18.    Moreover, the Company and its management team had numerous communications

          with and made repeated promises to pay GCS in accordance with the parties' written agreement,

          while GCS was in Bronx County.

                 19.    In addition,GCS designates Bronx County as the place of trial.



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                                                     4 of    17
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!FILED:   BRONX COUNTY CLERK 05/22/2023 116    18 05: 01 PM!                INDEX NO. 803962/2023E
NYSCEF DOC. NO. 5                                                                    RECEIVED NYSCEF:        05/22/2023




                  20.    Accordingly, jurisdiction and venue are proper herein pursuant to New York Civil

          Rules and Practice § § 302 and 503.

                                            FACTUALBACKGROUND

          The Business of QSid

                  21.    On its website, Q5id touts itself as "THE premiere enterprise cybersecurity

          software company." In fact, Q5id is a start-up that was founded only a few short years ago in

          2018.

                  22.    On information and belief, the Company only has a few dozen employees and thus

          is deeply reliant on the services of outside, independent contractors to assist in its software,

          business, and technology development.

                  23.    As of early 2022, the Company's "software" was highly ineffectual, replete with

          performance errors and inefficiencies, and could not be launched. Indeed, the Company had no

          marketable product, and as such, it was desperate to hire software and technology experts - like

          GCS - to "fix" the "bugs" and build usable products.

                  24.    At    relevant times, Q5id had nearly 60 independent contractors, including GCS.

                  25.    On information and belief, to date, Q5id has no corporate clients, and only has

          "potential               have never provided revenue or user flow. Thus, it relies upon funding

          from investors to keep its business afloat.

          Q5id Enters into a Master Services Agreement with GCS

                  26.         or about February 2022, Q5id and GCS              into a written consulting

          agreement, wherein GCS agreed to, inter alia, perform certain consulting services part-time on

          behalf of the Company.




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                                                        5 of   17
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NYSCEF DOC. NO. 5                                                                    RECEIVED NYSCEF:        05/22/2023




                 27.        On or about March 16, 2022, Q5id and GCS entered into a second written

          agreement, the Master Services Agreement (the "MSA").

                 28.        Pursuant to the MSA, GCS agreed to, among other things, run development staff

          and operations at the direction of the then-Chief Information Officer and Chief Technology

          Officer, Rebecca Wanta ("Wanta"), and to provide personnel for development purposes on an "as

          needed" basis (the "Services").

                 29.        In connection with the Services, GCS worked closely with Rearc and Xmogrify

          which are both New York-based entities - and their principals and communicated on an almost

          daily basis with them.

                 30.        Under the MSA, Q5id was obligated to pay $45,000 per month to GCS for

          performing the Services, which GCS would invoice bi-weekly, with payment due within seven (7)

          days of receipt of the invoice.

                 31.        The Company wanted GCS' s principal, Goldstein, to temporarily relocate to

          Oregon (where the Company's offices were then-located) away from his home in the Bronx to

          perform GCS's obligations under the MSA, as it was beneficial to Q5id to have him on-site.

                 32.        To induce Goldstein to relocate to Oregon, in April 2022, the Company's then-

          Chief Executive Officer, Steve Larson ("Larson") and Wanta orally agreed that the Company

          would increase the monthly payment amount to GCS to $50,000, and also pay for Goldstein's

          living and other expenses.

                 33.     Larson and Wanta then orally instructed Goldstein to invoice the Company for

          $50,000 for the Services, as well as the additional amounts owed to Goldstein for his living and

          other expenses.




                                                          6


                                                       6 of   17
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NYSCEF DOC. NO. 5                                                                        RECEIVED NYSCEF:     05/22/2023




          Q5id Breaches the MSA but Promises to Pay GCS in Full

                 34.     On or about March 20, 2022, GCS began performing Services and submitted bi-

          weekly invoices to the Company for the Services and expenses incurred.

                 35.     Importantly, the Company never objected to a single invoice submitted by GCS or

          any of the amounts sought therein. In fact, the Company fully paid GCS for all invoices submitted

          from March through end of July 2022.

                 36.     However, it subsequently stopped paymg the full amount of GCS' invoices

          beginning in August 2022.

                 37.     As such, Goldstein, on behalf of GCS, demanded payment for the overdue invoices.

                 38.     In multiple written and oral communications in mid-August 2022, Larson and

          Wanta acknowledged that the invoices and the amounts sought therein were correct, the Company

          was in breach of the MSA, and that GCS was owed payment. However, they claimed that the

          Company did not have sufficient capital to continue to pay for the Services.

                 39.     The Company knew that GCS would not continue to provide Services unless it was

          paid. As such, in order to induce GCS to continue to provide the Services, Larson and Wanta

          advised that the Company was expecting financing from its ongoing capital raises and that they

          simply "needed more time:'    Larson and Wanta then promised Goldstein that if GCS "stuck it

          out," the Company would pay GCS in full as soon as it received the expected capital infusion.

                 40.     As further inducement and to convince Goldstein that "funding" was coming,

          Larson and Wanta provided Goldstein with regular "funding updates" from the Company's

          Executive Vice President of Business Development and Co-Founder, Dominic O'Dierno.




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                                                      7 of    17
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                    Doc#9-3
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[FILED:   BRONX COUNTY CLERK 05/22/2023 116    18 05: 01 PMl
NYSCEF DOC. NO. 5                                                                    RECEIVED NYSCEF:        05/22/2023




                    41.   Moreover, Larson apologized to Goldstein for the Company's missed payments.

          Then, in an effort to portray the Company's alleged viability and further induce GCS to continue

          providing the Services, he offered and later provided GCS with stock options.

                 42.      GCS continued to provide Services to Q5id, in good faith and in accordance with

          the MSA, in reliance upon the Company's express promises.

          Q5id Executes a Change Order to the MSA

                 43.      On September 25, 2022, the Company and GCS executed a change order (the

          "Change Order") that modified the amounts to be paid to GCS for the Services under the MSA.

                 44.      Pursuant to the Change Order, the Company agreed to pay GCS $18,750 bi-weekly,

          for the Services GCS provided under the MSA. The Company further agreed to pay GCS $18,750

          on the 5th and 20th of each month, concurrently with the Company's payroll cycles.

                 45.      The parties further agreed that GCS would invoice the Company $18,750 bi-

          weekly.

                 46.      Goldstein continued to provide the Services through November, and subsequently

          submitted bi-weekly invoices to the Company, in accordance with the Change Order.

                 47.      Again, the Company never objected to the invoices submitted by GCS or any of the

          amounts sought therein; however, despite demand, it failed to pay GCS.

          The Company Continued to Promise Payment to GCS

                 48.      Through November 2022, Larson and Wanta made repeated oral and written

          assurances to Goldstein that "payments would be coming'' and that he would be "made whole."

                 49.      In October 2022, O'Dierno called Goldstein to tell him that the Company "had

          raised an additional $300,000 cash" and that GCS would be paid in full.




                                                          8


                                                      8 of    17
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NYSCEF DOC. NO. 5                                                                      RECEIVED NYSCEF:        05/22/2023




                  50.    On information and belief, the Company received more $2.5 million in funding

          between July 2022 and October 2022; however, rather than paying GCS, the Company's officers,

          including Larson and O'Dierno, paid themselves unapproved commissions, and prioritized paying

          themselves.

                  51.    Despite its promises and though it received millions of dollars in expected capital

          infusion, Q5id did not pay GCS for the Services rendered from August 2022 through November

          2022.

          The Company Hires Goldstein as an Employee in Order to Continue Obtaining the Services

                  52.    On information and belief, Q5id had no intention of paying the outstanding amounts

          due to GCS.

                  53.    However, the Company fully recognized GCS' value to its brand,as it was only

          through the efforts of GCS (and other contractors that GCS collaborated with) that the Q5id's

          software and other products were launched at all.

                  54.    Knowing full well that GCS would never continue to simply work for free, the

          Company had to formulate a plan to sidestep its obligations under the MSA.

                  55.    As such, the Company offered Goldstein a full-time position as Vice President of

          Software Development - which duties were identical to the Services provided by GCS under the

          MSA.

                  56.    As inducement for Goldstein to accept the position, Larson and Wanta told him that

          employee payroll took "priority over the contractors," and that, unlike the overdue bills to GCS,

          the Company would pay Goldstein "on time:' They also assured him that his continued work on

          the products as a full-time employee would only facilitate the capital raise, and that Q5id would

          pay the back-invoices as soon as it received capital.



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                                                       9 of    17
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                                                                                           11 of
                                                                                         803962/2023E
                                               of
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                                                  18
NYSCEF DOC. NO. 5                                                                     RECEIVED NYSCEF:         05/22/2023




                  57.    As such on or about November 1, 2022, the Company onboarded Goldstein as a

          full-time, salaried employee.

                  58.    However, and as a "back up" plan, the Company kept GCS on its roster of

          contractors and did not terminate the MSA.

          Q5id Appoints New Management and Terminates Goldstein

                  59.    In January 2023 - after the Company continually failed to pay GCS for the

          outstanding amounts due - Goldstein moved back to New York and continued to be employed by

          Q5id as a remote employee from GCS's office in Bronx County.

                  60.    On January 23, 2023, the Company appointed Brian Grant ("Grant") as Chief

          Financial Officer.

                  61.    Thereafter, Goldstein reached out to Grant to discuss the outstanding payments to

          GCS.

                  62.    In a phone call on February 7, 2023, Grant expressly acknowledged that the

          Company owed over $130,000 to GCS.            However, he reiterated that the Company needed

          additional capital and asked that Goldstein "work with" the Company by agreeing to a payment

          plan.

                  63.    Grant promised that he would circulate a proposed payment plan "within the next

          week or so."

                  64.    Following this call, the Company missed payroll and failed to pay Goldstein (and

          other key employees) their salaries. In a phone call on February 16, 2023, Grant advised Goldstein

          that the Company would "take care of it as soon as we can."




                                                       10 of   17
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NYSCEF DOC. NO. 5                                                                                  RECEIVED NYSCEF:            05/22/2023




                   65.      On March 2, 2023, in a meeting with all staff titled "All Teams Meeting" Michael

          Marcotte ("Marcotte") announced that the Company had been appointed him as Chief Executive

          Officer and that Larson would "continue as an advisor and be spending more time with family."

                   66.     Thereafter, on March 3, 3023, Marcotte spoke to Goldstein and parroted Grant's

          prior assurances and promises - that the Company owed GCS the outstanding balances under the

          invoices, but that the Company needed to make a plan to pay them.

                   67.     On information and belief, the Company received $6 million in funding on or about

          March 2, 2023. However, it did not pay GCS, and neither Grant, Marcotte, nor anyone else at the

          Company sent a payment plan to GCS.

                   68.     Instead, on March 8, 2023, Q5id terminated Goldstein's employment without

          cause.

          GCS Discovers the Company's Fraudulent Scheme

                   69.     GCS and Goldstein have since discovered that the Company has engaged in a

          scheme wherein it retains outside contractors to perform services for the Company, breaches their

          agreements with such contractors, and fraudulently induces them to continue providing services

          on the false promise that they would be paid when Q5id receives additional capital. 1

                   70.     On information and belief, presently, the Company is in breach of at least eleven

          other agreements with outside contractors and other creditors and owes more than $5.5 million

          collectively.




                    Two other contractors retained by the Company have commenced lawsuits in the Supreme Court of New
          York. XMogrify LLC v. Q5id, Inc., et al, Index No. 57870/2023 is pending in Westchester County, and Rearc v. Q5id,
          Inc., et al, Index No. 651278/2023 is pending in New York County.

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                                                             11 of    17
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NYSCEF DOC. NO. 5                                                                       RECEIVED NYSCEF:          05/22/2023




                    71.   GCS has also discovered that the stock options granted to it by the Company have

          no present value, and in fact, would require GCS to remit money to the Company if it later wishes

          to exercise any of those options.

                    72.   As such, the stock options do not reduce the total amount owed by the Company to

          GCS for the Services that were provided, accepted, invoiced, and remain unpaid.

                                              FIRST CAUSE OF ACTION
                                                ACCOUNTSTATED

                    73.   Plaintiff re-alleges and incorporates the foregoing paragraphs, as if fully set forth

          herein.

                    74.   Pursuant to the MSA, Q5id promised to pay Plaintiff $45,000 monthly in exchange

          for the Services.

                    75.   Plaintiff and Q5id subsequently amended the MSA, wherein Q5id orally agreed to

          pay Plaintiff an additional $5,000 to GSA, plus additional amounts to cover the living and other

          expenses of Plaintiff's principal, Goldstein.

                    76.   Q5id instructed Plaintiff to invoice the Company for $50,000, plus the additional

          amounts to cover the living and other expenses of Plaintiff's principal.

                    77.   Pursuant to the MSA, payment was due within seven (7) days of receipt of the

          invoice.

                    78.   From March 2022 through September 2022, Plaintiff submitted invoices for the

          Services in the amount of $50,000, plus additional expenses, as directed by the Company and

          pursuant to the MSA.

                    79.   On September 25, 2022, Plaintiff and Q5id executed the Change Order that

          amended the amounts to be paid to GCS under the MSA. The parties agreed that GCS would be




                                                             12


                                                          12 of   17
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                                                  18 05: 01 PM!               INDEX NO. 803962/2023E
NYSCEF DOC. NO. 5                                                                        RECEIVED NYSCEF:         05/22/2023




          paid $18,750 bi-weekly for the Services, which GCS would invoice bi-weekly. The parties further

          agreed that it would pay GCS on the 5th and 20th of every month.

                    80.   From September 2022 through November 2022, Plaintiff submitted invoices, in the

          amount of $18,750, for the Services on a bi-weekly basis.

                    81.   From March 2022 through November 2022, Plaintiff performed all its obligations

          under the MSA, provided the Services to the Company, and submitted invoices to the Company.

                    82.   Each invoice included (i) the date(s) the Services were performed; (ii) the amounts

          due; (iii) and the due date on such invoices.

                    83.   Q5id received the invoices, never objected to any of the issued invoices, or the

          amounts stated therein, and continued to accept all Services provided by Plaintiff.

                    84.   On multiple occasions from August 2022 through February 2023, Q5id

          acknowledged that the invoices were true and correct and that the amounts set forth therein were

          due and owing to Plaintiff.

                    85.   On multiple occasions from August 2022 through February 2023, Q5id promised

          to pay the amounts due underthe invoices to Plaintiff.

                    86.   Despite demand, the Company has refused to pay the amounts due and owing to

          Plaintiff.

                    87.   As a result of the foregoing, Plaintiff has been damaged in an amount to be proven

          at trial but no less than $131,390, plus interest.

                                           SECOND CAUSE OF ACTION
                                             BREACH OF CONTRACT

                    88.   Plaintiff re-alleges and incorporates the foregoing paragraphs, as if fully set forth

          herein.

                    89.   Plaintiff and Q5id executed the MSA.


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                                                          13 of     17
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NYSCEF DOC. NO. 5                               of
                                                 116
                                                   18                    RECEIVED NYSCEF: 05/22/2023




                 90.     Pursuant to the MSA, Q5id promised to pay Plaintiff $45,000 monthly in exchange

          for the Services.

                 91.     Plaintiff and Q5id subsequently amended the MSA, wherein Q5id orally agreed to

          pay Plaintiff an additional $5,000 to GSA, plus additional amounts to cover the living and other

          expenses of Plaintiff's principal, Goldstein.

                 92.     Q5id instructed Plaintiff to invoice the Company for $50,000, plus the additional

          amounts to cover the living and other expenses of Plaintiff's principal.

                 93.     Pursuant to the MSA, payment was due within seven (7) days of receipt of the

          mv01ce.

                 94.     On September 25, 2022, Plaintiff and Q5id executed the Change Order that

          amended the amounts to be paid to GCS under the MSA. The parties agreed that GCS would be

          paid $18,750 bi-weekly for the Services, which GCS would invoice bi-weekly. The parties further

          agreed that it would pay GCS on the 5th and 20th of every month.

                 95.     From March 2022 through November 2022, Plaintiff performed all its obligations

          under the MSA and provided the Services to the Company.

                 96.     From March 2022 through November 2022, Plaintiff submitted invoices to the

          Company, in accordance with the MSA and the Change Order and as directed by the Company.

                 97.     Q5id received the invoices, never objected to any of the issued invoices, or the

          amounts stated therein, and continued to accept all Services provided by Plaintiff.

                 98.     Q5id materially breached the MSA, the oral agreement to pay for additional

          expenses, and the Change Order to the MSA by unlawfully failing to pay the amounts due under

          the invoices to Plaintiff beginning in August 2022.




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                                                          14 of   17
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!FILED:   BRONX COUNTY CLERK 05/22/2023 of       116
                                                  18 05: 01 PM!               INDEX NO. 803962/2023E
NYSCEF DOC. NO. 5                                                                          RECEIVED NYSCEF:         05/22/2023




                    99.     Despite demand, the Company has refused to pay the amounts due and owing to

          Plaintiff.

                    I 00.   As a result of the foregoing, Plaintiff has been damaged in an amount to be proven

          at trial but no less than $131,390, plus interest.

                                          THIRD CAUSE OF ACTION
                                 IN THE ALTERNATIVE, UNJUST ENRICHMENT

                    101.    Plaintiff re-alleges and incorporates the foregoing paragraphs, as if fully set forth

          herein.

                    102.    From August 2022 through November 2022, Plaintiff performed the Services.

                    103.    Q5id accepted the Services rendered by Plaintiff and was enriched by such Services

          at Plaintiffs expense.

                    104.    Q5id was aware the Plaintiff was not providing the Services gratuitously and that

          the value of such Services amounted to approximately $50,000 per month.

                    105.    On multiple occasions since August 2022, Plaintiff has demanded that Q5id pay

          Plaintiff for the Services and since August 2022, has submitted invoices to Q5id for payment.

                    106.    Q5id received the invoices, acknowledged the invoices, and never objected to any

          of the invoices, or the amounts sought therein.

                    107.    On multiple occasions, Q5id's management promised that Plaintiff and its

          principal, Goldstein, that it would pay Plaintiff in full once the Company received funding from

          investors.

                    108.    Plaintiff and Q5id had a sufficiently close relationship or connection as to cause

          reliance or inducement by Plaintiff. Plaintiff was retained by Q5id as an independent contractor

          beginning in February 2022, and Plaintiff's principal, Goldstein, was a full-time employee of Q5id

          from November I, 2022 through March 8, 2023.


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                                                         15    of   17
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[FILED:   BRONX COUNTY CLERK 05/22/2023 of       116
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NYSCEF DOC. NO. 5                                                                        RECEIVED NYSCEF:         05/22/2023




                   109.   As a result of QSid' s accepting the Services without paying Plaintiff, Plaintiff has

          suffered actual and significant damages. To date, Plaintiff is owed $144,811.05, plus interest for

          the Services rendered from August 2022 through November 2022.

                   110.   It is against equity and good conscience to permit Q5id to retain the amounts due

          to Plaintiff.

                   111.   Equity and good conscience require restitution to Plaintiff.

                   112.   As a result of the foregoing, Plaintiff has been damaged in an amount to be proven

          at trial but no less than $144,811.05, plus interest.

                                                PRAYER FOR RELIEF

                  WHEREFORE, Plaintiff respectfully requests Judgment against Defendant:

                  (i)     in the amount of $131,390, plus pre- and post-judgment interest;

                  (ii)    attorney's fees and the costs of this action;

                  (iii)   and such other and further relief as the Court deems proper.

          Dated: May 22, 2023
                 New York, New York


                                                          LAZARE POTTER GlACOV AS
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!FILED:   BRONX COUNTY CLERK 05/22/2023 of                                    INDEX NO. 803962/2023E
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NYSCEF DOC. NO. 5                                                            RECEIVED NYSCEF:       05/22/2023




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                                         116    Pg 1 of 28
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NYSCEF DOC. NO. 10                                                                           RECEIVED NYSCEF:    09/08/2023


          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF BRONX
          ----------------------------------------------------------------x
          GOLDSTEIN CONSULTING SERVICES, LLC,
                                                                              Index No. 651278/23
                                            Plaintiff,

                   -against-                                                  DEFENDANT O51D, INC.'S
                                                                              ANSWER TO COMPLAINT AND
          Q5ID, INC.,                                                         COUNTERCLAIMS
                                            Defendant.

          ----------------------------------------------------------------x
          Q5ID, INC.,

                                            Counterclaim-Plaintiff,

                   -against-

          GOLDSTEIN CONSUL TING SERVICES, LLC,

                                            Counterclaim-
                                            Defendant.
          ---------------------------------------------------------------x


                   Defendant Q5iD, Inc. ("Defendant" or "Q5iD"), by its attorneys Cowan, Liebowitz &

          Latman, P.C., as and for its Answer to the Complaint (the "Complaint") filed by Plaintiff

          Goldstein Consulting Services, LLC ("Plaintiff' or "GCS") responds to the allegations in the

          Complaint as follows:

                                              NATURE OF THE ACTIONS

                   1.        Defendant admits that it was founded in 2018 and that it has used the phrase

          "THE premier enterprise cybersecurity software company delivering world-class identity

          management solutions" in certain contexts but denies the remaining allegations contained in

          Paragraph 1 of the Complaint.

                   2.        Defendant admits that it entered into a contract with Plaintiff wherein Defendant

          agreed to pay Plaintiff in exchange for certain software services to be renderedto Defendant but

          states that Plaintiff failed to performits obligations under the contract and thatno furthersums are


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                                                                                            63 of
NYSCEF DOC. NO. 10                           answer/counterclaim
                                                          116 Pg 10 of 28                  RECEIVED NYSCEF:       09/08/2023


          owed to Plaintiff, and, further, the Defendant is entitled to a return of money already paid due to

          the poor quality of Plaintiffs work and Plaintiff's failure to fulfill its obligations and denies the

          remaining allegations contained in Paragraph 2 of the Complaint.

                    3.        Defendant denies the allegations contained in Paragraph 3 of the Complaint.

                    4.        Defendant admits that it has received investor funding in connection with its

          business but denies the remaining allegations contained in Paragraph 4 of the Complaint.

                    5.        Defendants admits that Plaintiff purports to bring claims against Defendant for

          breach of contract, unjust enrichment and account stated but denies that Plaintiff has established

          such claims and denies liability therefor.

                                                       THE PARTIES

                    6.        Defendants is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 6 of the Complaint.

                    7.        Defendant admits the allegations contained in Paragraph 7 of the Complaint.

                                              JURISDICTION AND VENUE

                    8.        Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 8 of the Complaint.

                    9.        Defendant denies the allegations contained in Paragraph 9 of the Complaint.

                    10.       Defendants admits that it has had certain communications with Plaintiff and other

          independent contractors in New York and otherwise denies the allegations contained in

          Paragraph 10 of the Complaint.

                    11.       Defendant admits that it is has engaged in business with Plaintiff, Rearc, LLC

          ("Rearc") and Xmogrify, LLC ("Xmogrify") but is without knowledge or information sufficient

          to form a belief as to the offices or locations of Plaintiff, Rearc or Xmogrify and denies the

          remaining allegations in Paragraph 11 of the Complaint.




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                                   09/08/2023 116 12:Pg45  PM)
                                                        11 of 28
NYSCEF DOC. NO. 10                                                                       RECEIVED NYSCEF:         09/08/2023


                   12.     Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 12 of the Complaint.

                  13.      Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 13 of the Complaint.

                  14.      Defendants is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 14 of the Complaint.

                  15.      Defendant admits that it entered into a written agreement with Plaintiff referred to

          as the MSA but is without knowledge or information sufficient to form as belief as to the

          location where GCS performed any alleged services or sent invoices and denies the remaining

          allegations contained in Paragraph 15 of the Complaint.

                  16.      Defendant admits that it entered into a written agreement referred to as the MSA

          with Plaintiff, which agreement is not dated, but denies the remaining allegations contained in

          Paragraph 16 of the Complaint.

                  17.      Defendant admits that it hired Kevin Goldstein ("Goldstein") as an employee but

          is without knowledge or information as to the date in which such employment commenced and

          states that Goldstein was terminated in or around March 2023 for cause and denies the remaining

          allegations contained in Paragraph 17 of the Complaint.

                  18.      Defendant denies the allegations contained in Paragraph 18 of the Complaint.

                  19.      Defendant admits the allegations contained in Paragraph 19 of the Complaint but

          is without knowledge or information sufficient to form a belief as whether such county is an

          appropriate venue for trial.

                  20.      Defendants is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 20 of the Complaint.




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NYSCEF DOC. NO. 10                                                                        RECEIVED NYSCEF:   09/08/2023


                                             FACTUALBACKGROUND

                  21.      Defendant admits that it was founded in 2018 and that it has used the phrase

          "THE premier enterprise cybersecurity software company delivering world-class identity

          management solutions" in certain contexts but denies the remaining allegations contained in

          Paragraph 21 of the Complaint.

                  22.      Defendant denies the allegations contained in Paragraph 22 of the Complaint.

                  23.      Defendant denies the allegations contained in Paragraph 23 of the Complaint.

                  24.      Defendant denies the allegations contained in Paragraph 24 of the Complaint.

                  25.      Defendant denies the allegations contained in Paragraph 25 of the Complaint and

          states that Defendant is a startup engaged in product building, marketing and growth.

                  26.      Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 26 of the Complaint.

                  27.      Defendant admits that it entered into a Consulting Agreement (the "MSA") with

          Plaintiff, which was undated, and refers to the MSA for its terms, and otherwise denies the

          remaining allegations contained in Paragraph 27 of the Complaint.

                  28.      Defendant refers to the MSA for its terms and otherwise denies the remaining

          allegations contained in Paragraph 28 of the Complaint.

                  29.      Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 29 of the Complaint.

                  30.      Defendant admits that the MSA provided that Plaintiff would charge Defendant

          for services renderedat a rate of $45,000 per month and refers the Court to the MSA for the

          terms thereof but denies that Plaintiff performed such services or that it is entitled to such

          compensation and furtherdenies the remaining allegations contained in Paragraph 30 of the

          Complaint.




                                                           -4-
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                                                                                           66 of
NYSCEF DOC. NO. 10                        answer/counterclaim
                                                       116 Pg 13 of 28                   RECEIVED NYSCEF:      09/08/2023


                  31.      Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 31 of the Complaint.

                  32.      Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 32 of the Complaint.

                  33.      Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 33 of the Complaint.

                  34.      Defendant admits that it received certain invoices from Plaintiff but denies that

          Plaintiff is entitled to payment in connection with such invoices and further denies the remaining

          allegations contained in Paragraph 34 of the Complaint.

                  35.      Defendant denies the allegations contained in Paragraph 35 of the Complaint and

          further denies that Plaintiff performed the services for which it was invoicing Defendant.

                  36.      Defendant admits that it did not pay the full amount invoiced by Plaintiff and

          denies the remaining allegations contained in Paragraph 36 of the Complaint.

                  3 7.     Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 37 of the Complaint.

                  38.      Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 38 of the Complaint and denies that Plaintiff is due any

          payment or that Plaintiff performed the services for which is was invoicing Defendant.

                  39.      Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 3 9 of the Complaint and denies that Plaintiff is due any

          payment or that Plaintiff performed the invoiced services.

                  40.      Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 40 of the Complaint.




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                                                                             INDEX NO. 803962/2023E
!FILED:   BRONX COUNTY CLERKanswer/counterclaim
                                   09/08/2023 116 12Pg:4514 ofPM!
                                                               28
NYSCEF DOC. NO. 10                                                                       RECEIVED NYSCEF:      09/08/2023


                   41.       Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 41 of the Complaint and denies that Plaintiff is due any

          payment or that Plaintiff performed the invoiced services.

                   42.       Defendant denies the allegations contained in Paragraph 42 of the Complaint.

                   43.       Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 43 of the Complaint.

                   44.       Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 44 of the Complaint.

                   45.       Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 45 of the Complaint.

                   46.       Defendant denies the allegations contained in Paragraph 46 of the Complaint.

                   47.       Defendant denies the allegations contained in Paragraph 47 of the Complaint.

                   48.       Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 48 of the Complaint.

                   49.       Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 49 of the Complaint.

                   50.       Defendant denies the allegations contained in Paragraph 50 of the Complaint.

                   51.       Defendant denies the allegations contained in Paragraph 51 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   52.       Defendant denies the allegations contained in Paragraph 52 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   53.       Defendant denies the allegations contained in Paragraph 53 of the Complaint.

                   54.       Defendant denies the allegations contained in Paragraph54 of the Complaint.


                                                             -6-
          33006/00 I /4363639.3
                                                          6 of     20
      23-11007-cgb
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                   Doc#48 Filed
                           Doc#9-4
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                                                                              Exhibit
                                                                            INDEX NO.Pg803962/2023E
                                                                                         68 of
!FILED:   BRONX COUNTY CLERKanswer/counterclaim
                                   09/08/2023 116 12:Pg45  PMI
                                                        15 of 28
NYSCEF DOC. NO. 10                                                                       RECEIVED NYSCEF:     09/08/2023


                   55.      Defendant admits that it offered Kevin Goldstein a position as an employee but

          denies the remaining allegations contained in Paragraph 55 of the Complaint.

                   56.      Defendantis without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 56 of the Complaint and states that any payment to

          Plaintiff was conditioned on Plaintiff providing services to Defendant, which Plaintiff failed to

          do.

                  57.       Defendant admits that it employed Goldstein but is without knowledge or

          information sufficient to form a belief as to the remaining allegations contained in Paragraph 57

          of the Complaint.

                  58.       Defendant denies the allegations contained in Paragraph 58 of the Complaint.

                  59.       Defendant is without knowledge or information sufficient to form a belief as to

          Goldstein's move to New York and denies the remaining allegations contained in Paragraph 59

          of the Complaint.

                  60.       Defendant admits that in or around January 2023 Brian Grant ("Grant") was

          appointed as CFO of the Company and denies the remaining allegations contained in Paragraph

          60 of the Complaint.

                  61.       Defendant is without knowledge or information sufficient to form a belief as to

          the allegations regarding discussions between Grant and Goldstein contained in contained in

          Paragraph 61 of the Complaint and denies that it owes any outstanding payments to Plaintiff.

                  62.       Defendant is without knowledge or information sufficient to form a belief as to

          the allegations regarding phone calls between Grantand Goldstein contained in Paragraph 62 of

          the Complaint and denies that it owes any outstanding payments to Plaintiff.

                  63.       Defendantis without knowledge or informationsufficient to form a belief as to

          discussions between Grantand Goldstein contained in Paragraph63 of the Complaintand denies

          that it owes any outstandingpayments to Plaintiff.

                                                            -7-
          33006/00 l/4363639.3
                                                         7 of     20
[FILED:23-11007-cgb
               23-11007-cgb
           BRONX    Doc#48 CLERK
                   COUNTY   Filed
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                                  04/08/24
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                                                                      Main Document
                                                                                Exhibit
                                                                              INDEX  NO.Pg803962/2023E
                                                                                            69 of
NYSCEF DOC. NO. 10                         answer/counterclaim
                                                        116 Pg 16 of 28                    RECEIVED NYSCEF:      09/08/2023


                   64.      Defendant is without knowledge or information sufficient to form a belief as to

          the allegations regarding a phone call between Grant and Goldstein and denies the remaining

          allegations contained in Paragraph 64 of the Complaint.

                   65.      Defendant admits that on or about March 2, 2023, a company meeting was held

          wherein Michael Marcotte introduced himself as CEO of the company and advised that Larson

          would be transitioning to a new role and denies the remaining allegations contained Paragraph 65

          of the Complaint.

                   66.      Defendant denies the allegations contained in Paragraph 66 of the Complaint.

                   67.      Defendant admits that the company received certain funding in March 2023 and

          denies the remaining allegations contained in Paragraph 67 of the Complaint.

                   68.      Defendant denies the allegations contained in Paragraph 68 of the Complaint but

          states that Goldstein was terminated in March 2023 for cause.

                   69.      Defendant denies the allegations contained in Paragraph 69 of the Complaint.

          With respect to the accompanying footnote, Defendant admits that there are pending lawsuits

          involving Defendant and Xmogrify and Rearc and that Defendant denies the allegations

          contained in those complaints and any liability therein.

                   70.      Defendant denies the allegations contained in Paragraph 70 of the Complaint.

                   71.      Defendant denies the allegations contained in Paragraph 71 of the Complaint.

                   72.      Defendant denies the allegations contained in Paragraph 72 of the Complaint.

                                              FIRST CAUSE OF ACTION
                                                 ACCOUNT STATED

                   73.      Defendant repeats and realleges its responses to Paragraphs 1 - 72 as if fully set

          forth herein.




                                                             -8-
           33006/001/4363639.3
                                                          8 of     20
      23-11007-cgb
              23-11007-cgb
                   Doc#48 Filed
                           Doc#9-4
                                04/08/24
                                    Filed 12/19/23
                                          Entered 04/08/24
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                                                           12/19/23 11:40:07
                                                                    Main Document
                                                                              Exhibit
                                                                            INDEX NO.Pg803962/2023E
                                                                                         70 of
(FILED:   BRONX COUNTY CLERKanswer/counterclaim
                                   09/08/2023 116 12:Pg45   PM)
                                                        17 of 28
NYSCEF DOC. NO. 10                                                                        RECEIVED NYSCEF:         09/08/2023


                   74.       Defendant denies the allegations contained in Paragraph 74 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   75.       Defendant denies the allegations contained in Paragraph 75 of the Complaint and

          states that the MSA requires any amendments to be in writing and that any payment to Plaintiff

          was conditioned on Plaintiff providing services to Defendant, which Plaintiff failed to do.

                   76.       Defendant denies the allegations contained in Paragraph 76 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   77.       Defendant denies the allegations contained in Paragraph 77 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   78.       Defendant denies the allegations contained in Paragraph 78 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   79.       Defendant denies the allegations contained in Paragraph 79 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   80.       Defendant denies the allegations contained in Paragraph 80 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do and further states that the invoices submitted by Plaintiff failed to set

          forth the details of the services allegedly performed.

                   81.       Defendant denies the allegations contained in Paragraph 81 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,




                                                            -9-
          33006/00 l /4363639.3
                                                         9 of     20
      23-11007-cgb
              23-11007-cgb
                   Doc#48 Filed
                           Doc#9-4
                                04/08/24
                                    Filed 12/19/23
                                          Entered 04/08/24
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                                                                      Main Document
                                                                                Exhibit
                                                                              INDEX  NO.Pg803962/2023E
                                                                                           71 of
[FILED:   BRONX COUNTY CLERKanswer/counterclaim
                                   09/08/2023 116 12Pg :4518 of
                                                              PM)
                                                                28
NYSCEF DOC. NO. 10                                                                        RECEIVED NYSCEF:         09/08/2023


          which Plaintiff failed to do and further states that the invoices submitted by Plaintiff failed to set

          forth the details of the services allegedly performed.

                   82.       Defendant denies the allegations contained   Paragraph 82 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do and further states that the invoices submitted by Plaintiff failed to set

          forth the details of the services allegedly performed.

                   83.       Defendant denies the allegations contained in Paragraph 83 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do and further states that the invoices submitted by Plaintiff failed to set

          forth the details of the services allegedly performed.

                   84.       Defendant denies the allegations contained in Paragraph 84 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do and further states that the invoices submitted by Plaintiff failed to set

          forth the details of the services allegedly performed.

                   85.       Defendant denies the allegations contained in Paragraph 85 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do and further states that the invoices submitted by Plaintiff failed to set

          forth the details of the services allegedly performed.

                   86.       Defendant denies the allegations contained in Paragraph 86 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff          to do.

                   87.       Defendant denies the allegations contained   Paragraph 87 of      Complaint.




                                                            -1
          33006/00 l /4363639.3
                                                         10 of   20
      23-11007-cgb
              23-11007-cgb
                   Doc#48 Filed
                           Doc#9-4
                                04/08/24
                                    Filed 12/19/23
                                          Entered 04/08/24
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                                                           12/19/23 11:40:07
                                                                    Main Document
                                                                              Exhibit
                                                                            INDEX  NO.Pg803962/2023E
                                                                                         72 of
[FILED:                            09/08/2023 116 12:Pg45
          BRONX COUNTY CLERKanswer/counterclaim             PMI
                                                        19 of 28
NYSCEF DOC. NO. 10                                                                         RECEIVED NYSCEF:         09/08/2023


                                             SECOND CAUSE OF ACTION
                                                BREACH OF CONTRACT

                   88.       Defendant repeats and realleges its responses to Paragraphs 1 - 87 as if fully set

          forth herein.

                   89.       Defendant admits the allegations contained in Paragraph 89 of the Complaint.

                   90.       Defendant denies the allegations contained in Paragraph 90 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   91.       Defendant denies the allegations contained in Paragraph 91 of the Complaint and

          states that the MSA requires any amendments to be in writing and that any payment to Plaintiff

          was conditioned on Plaintiff providing services to Defendant, which Plaintiff failed to do.

                   92.       Defendant denies the allegations contained in Paragraph 92 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do and further states that the invoices submitted by Plaintiff failed to set

          forth the details of the services allegedly performed.

                   93.       Defendant denies the allegations contained in Paragraph 93 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   94.       Defendant denies the allegations contained in Paragraph 94 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   95.       Defendant denies the allegations contained in Paragraph 95 of the Complaint.

                   96.       Defendant denies the allegations contained in Paragraph 96 of the Complaint and

          further states that the invoices submitted by Plaintiff failed to set forth the details of the services

          allegedly performed.


                                                             -11-
          33006/00 l /4363639.3
                                                          11 of     20
      23-11007-cgb
              23-11007-cgb
                   Doc#48 Filed
                           Doc#9-4
                                04/08/24
                                    Filed 12/19/23
                                          Entered 04/08/24
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                                                           12/19/23 11:40:07
                                                                    Main Document
                                                                              Exhibit
                                                                            INDEX  NO.Pg803962/2023E
                                                                                          73 of
[FILED:   BRONX COUNTY CLERKanswer/counterclaim
                                   09/08/2023 116 12:Pg45  PM)
                                                        20 of 28
NYSCEF DOC. NO. 10                                                                         RECEIVED NYSCEF: 09/08/2023


                   97.      Defendant denies the allegations contained in Paragraph 97 of the Complaint and

          further states that the invoices submitted by Plaintiff failed to set forth the details of the services

          allegedly performed.

                   98.      Defendant denies the allegations contained in Paragraph 98 of the Complaint.

                   99.      Defendant denies the allegations contained in Paragraph 99 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   100.     Defendant denies the allegations contained in Paragraph 100 of the Complaint.

                                          THIRD CAUSE OF ACTION
                                 IN THE ALTERNATIVE, UNJUST ENRICHMENT

                   l 0 1.   Defendant repeats and realleges its responses to Paragraphs I - 100 as if fully set

          forth herein.

                   102.     Defendant denies the allegations contained in Paragraph 102 of the Complaint.

                   103.     Defendant denies the allegations contained in Paragraph 103 of the Complaint.

                   104.     Defendant denies the allegations contained in Paragraph 104 the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   l 05.    Defendant denies the allegations contained in Paragraph 105 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   106.     Defendant denies the allegations contained in Paragraph 106 the Complaint and

          further states that the invoices submitted by Plaintiff failed to set forth the details of the services

          allegedly performed.




                                                            -12-
          33006/001 /4363639.3
                                                         12 of     20
      23-11007-cgb
!FILED:
              23-11007-cgb
                   Doc#48 Filed
                           Doc#9-4
                                04/08/24
                                    Filed 12/19/23
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                                                                    Main Document
                                                                              Exhibit
                                                                            INDEX NO.Pg 74 of
                                                                                      803962/2023E
                                 answer/counterclaim
                                               116 Pg 21 of 28
NYSCEF DOC. NO. 10                                                                        RECEIVED NYSCEF:      09/08/2023


                   107.      Defendant denies the allegations contained in Paragraph 107 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   108.      Defendant denies the allegations contained in Paragraph 108 of the Complaint.

                   109.      Defendant denies the allegations contained in Paragraph109 of the Complaint.

                   110.      Defendant denies the allegations contained in Paragraph 110 of the Complaint

                   111.      Defendant denies the allegations contained in Paragraph 111 of the Complaint.

                   112.      Defendant denies the allegations contained in Paragraph 112 of the Complaint.

                                      AFFIRMATIVE AND OTHER DEFENSES

                                                       First Defense

                   Plaintifffailed to perform its obligations under the agreements between the parties and is

          therefore barred from any recovery.

                                                      Second Defense

                   To the extent that Plaintiffs claims are based on any oral agreement or oral amendment

          to a written agreement, such claims are barred by the Statute of Frauds.

                                                      Third Defense

                   To the extent Plaintiff has suffered any damages for which the law would provide a

          remedy, which Defendants deny, Plaintiff is not entitled to an award of attorneys' fees.

                                                      Fourth Defense

                   Plaintiffs claims are barred by the principle of equitable estoppel.

                                                       Fifth Defense

                   Plaintiffs claim for unjust enrichment is barred as duplicative of Plaintiff's contract

          claim.

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                                                            -13-
          33006/00 l /4363639.3
                                                         13 of     20
!FILED:23-11007-cgb
               23-11007-cgb
           BRONX    Doc#48 CLERK
                   COUNTY   Filed
                            Doc#9-4
                                  04/08/24
                                      Filed 12/19/23
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                                     09/08/2023      Entered
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                                                                                Exhibit
                                                                              INDEX NO.Pg803
                                                                                           75962/2023E
                                                                                              of
                                          answer/counterclaim
                                                       116 Pg 22 of 28                  RECEIVED NYSCEF:       09/08/2023
NYSCEF DOC. NO. 10


                   WHEREFORE, Defendant Q5iD respectfully requests judgment in its favor, that Plaintiff's

          claims be dismissed in their entirety, an award of attorneys' fees and costs, an award of

          prejudgment and post-judgment interest at the highest rate allowed by law, and such other further

          relief as the Court deems just and proper.



                                                  COUNTERCLAIMS

                   Q5iD, Inc. ("Counterclaim Plaintiff' or "QSiD"), by its attorneys Cowan, Liebowitz &

          Latman, P.C., brings these counterclaims against Goldstein Consulting Services, LLC

          ("Counterclaim Defendant" or "GCS") for breach of the MSA and other agreements between the

          parties due to GCS' failure to perform the services required and for breach of the confidentiality

          provision therein. As a result of GCS' breaches, Q5iD seeks a refund of the amounts paid by Q5iD

          to GCS and damages due to breach of confidentiality.

                                                       PARTIES

                   1.       Counterclaim-Plaintiff Q5id is a corporation organized under the laws of Oregon,

          with business locations at 801 Barton Springs, Austin, Texas and 800 Bellevue Way NE, Bellevue,

          Washington.

                   2.       Upon information and belief, Counterclaim-Defendant GCS is a New York limited

          liability company with its principal place of business at 4445 Post Road, Apt. 41, Bronx, New

          York.

                                            JURISDICTION AND VENUE

                   3.       This Court has jurisdiction over this counterclaim pursuant to CPLR § 3019.

                   4.       Venue is proper because GCS is located in the Bronx, New York.

                                                         FACTS

                   5.       QSiD is an enterprise cybersecurity software identity management company

          providing enterprise technology products.

                                                           -14-
           33006/001/4363639.3
                                                        14 of     20
      23-11007-cgb
              23-11007-cgb
                   Doc#48 Filed
                           Doc#9-4
                                04/08/24
                                    Filed 12/19/23
                                          Entered 04/08/24
                                                   Entered21:35:48
                                                           12/19/23 11:40:07
                                                                    Main Document
                                                                              Exhibit
                                                                            INDEX  NO.Pg803962/2023E
                                                                                          76 of
!FILED:   BRONX COUNTY CLERKanswer/counterclaim
                                   09/08/2023 116 12:Pg45
                                                        23 ofPM!
                                                              28
NYSCEF DOC. NO. 10                                                                       RECEIVED NYSCEF:         09/08/2023


                  6.       Upon information and belief, GCS is a provider of software consultancy services.

                  7.       Upon information and belief, the sole owner and principal of GCS is Kevin

          Goldstein ("Goldstein").

                  8.       On or around March 16, 2022, Q5iD entered into a Consulting Agreement with

          GCS, alternatively referred to as the Master Services Agreement ("MSA").

                  9.       Per the MSA, GCS agreed to provide QSiD with the following services: "Running

          development staff and operations, at the direction of the CIO/CTO," "Providing personnel for

          development purposes on an 'as-needed' basis," and "any other consulting tasks which the Parties

          may agree on."

                  10.      In return for GCS's performance of those services, Q5iD agreed to compensate

          GCS at a monthly rate.

                  11.      The MSA included a confidentiality provision that provided that GCS was not to

          disclose any data or information relating to the business of Q5iD that QSiD would reasonably be

          considered to be proprietary, including accounting records, business processes, and client records,

          and information not generally known in the industry regarding QSiD. Further, such information

          was deemed confidential regardless of whether it was provided before or after the date of the MSA

          or how it was provided to the GCS, and such obligations survived the termination of the MSA.

                  12.      Upon information and belief, GCS had a relationship with Rearc, LLC ("Rearc")

          and Xmogrify, LLC ("Xmogrify") and engaged those entities as subcontractors and/or business

          vendors to perform certain services for GCS or on behalf of QSiD.

                  13.      Subsequently, QSiD engaged Goldstein as an employee to perform certain software

          and consulting services for the company.

                  14.      During the course of the relationship between QSiD and GCS, GCS submitted

          invoices to QSiD notwithstanding that it did not perform the agreed upon services, or, alternatively,




                                                          -15-
          33006/001/4363639.3
                                                       15 of     20
      23-11007-cgb
              23-11007-cgb
                   Doc#48 Filed
                           Doc#9-4
                                04/08/24
                                    Filed 12/19/23
                                          Entered 04/08/24
                                                   Entered21:35:48
                                                           12/19/23 11:40:07
                                                                    Main Document
                                                                              Exhibit
                                                                            INDEX  NO.Pg803962/2023E
                                                                                          77 of
!FILED:   BRONX COUNTY CLERKanswer/counterclaim
                                   09/08/2023 116 12:45     PMI
                                                     Pg 24 of 28
NYSCEF DOC. NO. 10                                                                      RECEIVED NYSCEF:         09/08/2023


          for services that were deficient, inadequate and not in accordance with standard protocols and

          procedures in the industry.

                  15.      In or around March 2023, Q5iD conducted an internal audit to review the services

          allegedly provided by GCS and for which GCS had been submitting invoices to Q5iD. The audit

          revealed that GCS and its business associates Rearc and Xmogrify had not been performing the

          services they had been engaged to perform, and, in the alternative, any services that were provided

          were deficient and substandard. In fact, no work product, artifacts or accompanying data,

          worksheets, manuals or other materials have been provided to Q5iD despite Plaintiffs demands

          for payment.

                  16.      As a result of an internal investigation and audit, in or around March 2023, Q5iD

          terminated Goldstein as an employee at Q5iD. The termination was for cause due to Goldstein's

          failure to perform the services of his employment in a satisfactory manner.

                  17.      Any payments due to GCS were conditioned upon GCS 's performance of its

          obligations under the MSA or any other contracts upon which GCS relies. Thus, Q5iD does not

          have any payment obligations to GCS and is entitled to a return of sums already paid.

                  18.      On May 22, 2023, GCS publicly filed the Complaint in this action against Q5iD for

          account stated, breach of contract, and unjust enrichment.

                  19.      In the GCS Complaint, GCS disclosed proprietary and confidential business

          information relating to Q5iD in violation of the confidentiality provision in the MSA, including

          payment records, investor information and business processes and practices.

                  20.      Further, on or about May 26, 2023, GCS sent an email to certain persons disclosing

          details regarding the parties' business relationship and the disputes between the parties, in breach

          of the confidentiality provision of the MSA. GCS has further threatened to reveal additional

          confidential information in an effort to obtain leverage in this dispute.




                                                          -16-
          33006/001/4363639.3
                                                        16 of    20
      23-11007-cgb
              23-11007-cgb
                   Doc#48 Filed
                           Doc#9-4
                                04/08/24
                                    Filed 12/19/23
                                          Entered 04/08/24
                                                   Entered21:35:48
                                                            12/19/23 11:40:07
                                                                     Main Document
                                                                               Exhibit
                                                                             INDEX NO.Pg 78 of
                                                                                       803962/2023E
!FILED:                            09/08/2023 116 12Pg
          BRONX COUNTY CLERKanswer/counterclaim              PM]
                                                      :4525 of 28
NYSCEF DOC. NO. 10                                                                        RECEIVED NYSCEF:         09/08/2023


                  21.      Q5iD's investigation into GCS's conduct is still ongoing and it is likely to find

          additional unauthorized disclosure of confidential and proprietary information in breach of the

          MSA.

                  22.      As a result of GCS's actions, Q5iD has been damaged and its reputation has been

          harmed, causing damage in an amount to be determined at trial.

                  23.      GCS's unlawful activities have also resulted in irreparable harm and injury to Q5iD

          for which Q5iD has no adequate remedy at law, and GCS must be further restrained to prevent

          further disclosure and harm to Q5iD.

                  24.      As a result of GCS' breaches of the MSA, Q5iD is entitled to an injunction

          prohibiting further disclosure of confidential information and to damages, in an amount to be

          determined at trial.

                                                        COUNTI
                                                  (Breach of Contract)

                  25.      Q5iD realleges paragraphs l through 24 above, as fully set forth herein.

                  26.      Q5iD and GCS formed an agreement, the MSA, through which GCS would provide

          consulting services to Q5iD.

                  27.      GCS did not perform the consulting services it had contracted to perform under the

          MSA.

                  28.      Q5iD performed by making some payments to GCS under the MSA but is relieved

          of further obligations under the MSA due to GCS' nonperformance and deficient performance.

                  29.      As a result of this breach, Q5iD has incurred losses by paying for services that were

          not performed or were not performed satisfactorily.

                  30.      Accordingly, Q5iD is entitled to a return of the amounts paid by Q5iD to GCS

          under the MSA.




                                                           -17-
          33006/001/4363639.3
                                                        17 of     20
      23-11007-cgb
              23-11007-cgb
                   Doc#48 Filed
                           Doc#9-4
                                04/08/24
                                    Filed 12/19/23
                                          Entered 04/08/24
                                                   Entered21:35:48
                                                            12/19/23 11:40:07
                                                                     Main Document
                                                                               Exhibit
                                                                             INDEX NO.Pg 79 of
                                                                                       803962/2023E
[FILED:   BRONX COUNTY CLERK 09/08/2023
                                               116 12:Pg45
                                 answer/counterclaim         PM!
                                                         26 of 28
NYSCEF DOC. NO. 10                                                                        RECEIVED NYSCEF:     09/08/2023


                                                       COUNT II
                                               (Breach of Confidentiality)

                  31.      Q5iD realleges paragraphs 1 through 30 above, as fully set forth herein.

                  32.      QSiD and GCS formed an agreement, the MSA, which provide that GCS would

          maintain certain business and proprietary information of Q5iD in confidence and would not

          disclose such information publicly.

                  33.      GCS disclosed confidential information of Q5iD by publicly filing the Complaint

          which contained proprietary and confidential business information relating to the business of

          Q5iD, including payment records, investor information and business processes and practices.

                  34.      Further, on or about May 26, 2023, GCS sent an email publicly disclosing

          confidential information.

                  35.      Q5iD has been damaged by the public disclosure of its confidential information by

          GCS in an amount to be determined at trial.

                  36.      As a result of GCS's wrongful conduct, Q5iD has sustained, and will continue to

          sustain, immediate irreparable harm and incalculable monetary loss.

                                                 PRAYER FOR RELIEF

                  WHEREFORE, Q5iD respectfully demands judgment against GCS and respectfully

          requests that:

                  1.       The Court grantjudgment in favor of Q5iD and against GCS Defendants on all of

                           Q5iD's claims;

                  2.       The Court issue a permanent injunction against GCS and its officers, agents,

                           subsidiaries, servants, partners, employees, attorneys, and all others in active

                           concert or participationwith it:

                           a. requiring GCS to return or destroy all of Q5iD's ConfidentialInformation;




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                                                                                          80 of
NYSCEF DOC. NO. 10
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                                                          116 Pg 27 of 28                   RECEIVED NYSCEF:       09/08/2023


                             b. enjoining GCS from using or disclosing QSiD's Confidential Information to

                                  any party, at any time, and for any reason;

                             c. requiring GCS to provide an accounting of the whereabouts of, and the names

                                  of all persons given access to or who otherwise viewed, QSiD's Confidential

                                  Information, including all files, data, information removed, downloaded,

                                  transferred or forwarded to any third-parties or unauthorized employees or

                                  contractors,

                             d. requiring GCS to delete all content obtained from Q5iD anywhere it may

                                  reside, including the computer system and servers of GCS or on any other

                                  computer, electronic device, or cloud accounts, hard copy documents, or any

                                  other materials in GCS's possession, custody, or control; and

                             e. requiring GCS to provide written certification to Q5iD's counsel of its

                                  compliance with paragraph (d) above;

                   3.        The Court award Q5iD a judgment against GCS on the above claims in an amount

                             of damages as may be proven at trial, including the disgorgement of any profits,

                             benefits, or compensation received as a result of GCS 's misconduct;

                   4.        The Court award of attorneys' fees and costs, an award of prejudgment and post-

                             judgment interest at the highest rate allowed by law, and such other further relief

                             as the Court deems just and proper.

                   5.        The Court grantQ5iD such other and further relief as the Court deems just,

                             equitable, and proper.

          Dated: New York, New York                                  COWAN LIEBOWITZ & LATMAN, P.C.
                 September 8, 2023


                                                                     By:      Isl Meichelle R. MacGregor
                                                                     Meichelle R. MacGregor
                                                                     Jeremy A. Berman

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                                                                                          81 of
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NYSCEF DOC. NO. 10                                                                      RECEIVED NYSCEF:   09/08/2023


                                                             Paige A. Geier
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                                                             New York, New York 10036-1525
                                                             (212) 790-9200

                                                             Attorneys for Q5iD, Inc.
          To:

          Lazare Potter Giacovas & Moyle LLP
          747 Third Avenue, 16th Floor
          New York, NY 10017
          Attorneys for Goldstein Consulting Services,
          LLC




          33006/00 I /4363639.3
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                                                                                lawsuitNO.
                                                                                INDEX   Pg
                                                                                        Pg 2651278/2023
                                                                                            83ofof
NYSCEF DOC. NO. 5                                                116
                                                                  16                            RECEIVED NYSCEF:       05/22/2023




          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF WESTCHESTER

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          Rearc LLC,                                                         Index No. 651278/23

                                             Plaintiff,
                                                                             COMPLAINT
                                    - against -

          Q5id Inc.,                                                         Plaintiff designates New York County as
                                                                             the place of trial.
                                             Defendant.


          -------------------------------------------------------------- X


                  PlaintiffRearc, LLC ("Plaintiff' or "Rearc"), by and through its undersigned counsel, and

          for its Complaint against defendant Q5id Inc. ("Q5id," the "Company," or "Defendant"), alleges

          as follows:

                                                  NATURE OF THE ACTION

                   1.      Defendant Q5id is a start-up company founded in 2018 and touts itself as "THE

          premiere enterprise cybersecurity software company." In fact, and though Q5id has raised millions

          of dollars from investors, it has failed to pay Plaintiff Rearc (and numerous other contractors) for

          the developmental work to build its business. So determined were its officers to enrich themselves

          from investor cash that, despite promising Rearc (and other contractors) that they would be paid

          from additional financing and inducing them to work for "free," when the capital came in, the

          officers paid themselves unapproved commissions and prioritized paying themselves, and paid

          nothing but lip service to Rearc (and other contractors).

                  2.       Rearc now brings this action to address Defendant's breach of contract and other

          wrongful conduct, in connection with certain services Rearc provided to Q5id. Pursuant to a




                                                              1 of   15
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                                                                                 lawsuitNO.
                                                                          Document       Pg651278/2023
                                                                                         Pg 384ofof
NYSCEF DOC. NO. 5                                        116
                                                          16                           RECEIVED NYSCEF:         05/22/2023




          written agreement, Q5id promised to pay Rearc, in exchange for Rearc's services, which would be

          invoiced monthly and paid within 30 days of receipt of the invoice. Beginning in April 2022,

          Rearc performed services in accordance with the agreement, which services the Company

          accepted. The Company paid the first invoice as the parties agreed; however, though time - and

          Rearc's work- progressed, Q5id stopped paying the invoices entirely.

                 3.      To excuse its breaches, the Company claimed that it had insufficient capital to pay

          Rearc. However, in order to induce Rearc to continue to provide services, Q5id's management

          advised that the Company was working diligently to raise capital and repeatedly and falsely

          promised that it \vould pay all outstanding amounts due once it received a capital infusion. In

          reliance upon the Company's promises, Rearc continued to provide services to Q5id through

          December 2022, and to show its good faith, even agreed that the work it performed in December

          2022 would be free.

                 4.      On information and belief, the Company has received funding on multiple

          occas10ns. However, despite due demand and though it has repeatedly acknowledged and never

          objected to the invoices and/or the amounts due to Rearc, and repeatedly promised to pay them in

          full, Q5id has not fully paid Rearc for services rendered from June 2022 through November 2022.

          To date, the Company owes $556,070, plus interest in an amount to be determined, to Rearc.

                 5.      Rearc now asserts claims against Defendant for breach of contract, unjust

          enrichment, and account stated.

                                                   THE PARTIES

                 6.      Plaintiff Rearc is a Delaware limited liability company with a principal place of

          business at 1216 Broadway, Suite 218, New York, New York. Rearc is a boutique consulting firm

          specializing in transforming organization, driving digital transformation efforts, enabling the use



                                                          2


                                                       2 of   15
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          NEW YORK  Doc#48
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                                                                                lawsuitNO.
                                                                                INDEX   Pg
                                                                                        Pg 4
                                                                                           85ofof
                                                                                           651278/2023
NYSCEF DOC. NO. 5                                         116
                                                           16                          RECEIVED NYSCEF:        05/22/2023




          of cloud and modem software development practices, and leveraging data to make better decisions.

          and one of its principals is Mahesh Varma ("Varma"). Rearc has employees in New York City

          and throughout the United States.

                 7.      On information and belief, defendant Q5id is a corporation organized under the

          laws of Oregon, with its headquarters at 801 Barton Springs, Austin, Texas, and 800 Bellevue Way

          NE, Bellevue, Washington. It claims it is a cybersecurity software company that sells software

          and services to protect against fraud, data breaches, and identity theft.

                                           JURISDICTION AND VENUE

                 8.      Jurisdictionis properly laid in this Courtin that the Company is subject to personal

          and specific jurisdiction in New York.

                 9.      The Company has systematic and continuous contacts in New York as it transacts

          business in New York. Specifically, it recruits and solicits numerous independent contractors

          (such as Rearc) located in New York, enters into agreements with such contractors to perform

          services on behalf of the Company from New York, and accepts services from such contractors

          which are performed fully, or in large part, in New York.

                 l 0.    The Company has engaged in and solicited business from at least three independent

          contractors who conduct business in and perform services from New York: (a) Rearc, which has

          an office in New York County, New York; (b) Xmogrify, LLC ("Xmogrify"), which is located in

          Westchester County, New York; and (c) Goldstein Consulting Services, LLC ("GCS"), which is

          located in Bronx County, New York.

                 11.     The Company's communications by, among other things, telephone, text messages,

          and email, with the independent contractors that it solicits and hires in New York takes place, in

          part, in New York.



                                                            3


                                                        3 of    15
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        23-11007-cgb
           NEW YORKDoc#48
                     Doc#9-5
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                                                                                 INDEX    Pg
                                                                                          Pg 5
                                                                                             86ofof
                                                                                             651278/2023
NYSCEF DOC. NO. 5                                       116
                                                         16                          RECEIVED NYSCEF:         05/22/2023




                  12.    As alleged below, on information and belief, the Company instructed another

          independent contractor that it hired, Xmogrify- which is based in New York to introduce Rearc

          to the Company.    In addition, the Company instructed Xmogrify to communicate on its behalf

          with Rearc, which communications took place, in part, in New York. The Company's repeated

          promises to pay Rearc, in accordance with the parties' written agreement, were relayed by

          Xmogrify in New York.

                  13.   Rearc, Xmogrify, and another New York-based contractor, GCS, worked closely

          together and communicated on an almost daily basis in connection with the services they provided

          to the Company, which communicationstook place, in part, in New York.

                  14.   Moreover, on information and belief, one of the Company's officers traveled to

          New York in November 2022, to raise capital and to solicit investments from investors in New

          York.

                  15.   Venue is properly laid in New York County as the acts and events giving rise to the

          claims set forth herein took place in substantial part in New York County. Rearc has a principal

          office in and conducts business from New York County.

                  16.   The services provided by Rearc to the Company were performed in substantial part

          in New York County by an employee ofRearc who works from and resides in New York County.

                  17.    In addition, Rearc designates New York County as the place of trial.

                  18.   Jurisdiction and venue are proper herein pursuant to New York Civil Rules and

          Practice§§ 302 and 503.




                                                         4



                                                     4 of    15
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          NEW YORK  Doc#48
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                                                                               lawsuitNO.
                                                                               INDEX   Pg
                                                                                       Pg 6651278/2023
                                                                                           87ofof
NYSCEF DOC. NO.   5                                       116
                                                           16                         RECEIVED   NYSCEF:       05/22/2023




                                            FACTUALBACKGROUND

          The Business of Q5id

                  19.     On its website, Q5id touts itself as "THE premiere enterprise cybersecurity

          software company." In fact, Q5id is a start-up that was founded only a few short years ago in

          2018.

                  20.    On information and belief, the Company only has a few dozen employees, and thus

          is deeply reliant on the services of outside, independent contractors to assist in its software,

          business, and technology development.

                  21.    As of early 2022, the Company's "software" was highly ineffectual, replete with

          performance errors and inefficiencies, and could not be launched. Indeed, the Company had no

          marketable product, and as such, it was desperate to hire software and technology experts     like

          Rearc - to "fix" the "bugs" and build usable products.

                  22.    At all relevant times, Q5id had nearly 60 independent contractors, including Rearc.

                  23.    On information and belief, to date, Q5id has no corporate clients, and only has

          "potential clients" that have never provided revenue or user flow. Thus, it relies upon funding

          from investors to keep its business afloat.

          One of the Company's New York-Based Contractors Introduces,
          Rearc to the Company and Q5id Enters into a Statement of Work with Rearc

                  24.    On information and belief, beginning in March 2022, the Company contracted with

          Xmogrify, a New York-based company specializing in technology design, management, and

          consulting services. Xmogrify, in tum, introduced Rearc to the Q5id.

                  25.    On April 25, 2022, Q5id and Rearc entered into a Statement of Work (the "SOW").




                                                           5


                                                        5 of   15
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                                                                                        Pg 7
                                                                                           88ofof
                                                                                           651278/2023
NYSCEF DOC. NO. 5                                         116
                                                           16                         RECEIVED NYSCEF:         05/22/2023




                  26.    Pursuant to the SOW, Rearc agreed to provide certain services (the "Services"),

          including, inter alia, designing and building a cloud architecture and providing other software

          support to the Company and its existing technology, which would be broken down into two tracks,

          commencing on April 25, 2022.

                 27.     In connection with the Services, Rearc worked closely with Xrnogrify. All of

          Rearc's contractors on the project reported to Xmogrify's principal, David Levy ("Levy"), who

          was located in and performed services from his office in Westchester County, New York.

                 28.     In addition, Company-related communications were primarily relayed by Levy to

          Re arc's principal, Mahesh Varma ("Varma"), while Levy was in New York.

                 29.     In connection with the Services, Rearc (and all of its individual contractors) also

          worked closely with GCS and its principal, Kevin Goldstein.

                 30.     The Company agreed to pay Rearc for the Services "on a time and materials basis

          at cost" as follows:

           Position                         Hourly Rate                     Discounted Hourly Rate
           Architect                        $250                            $237.50
           Senior Engineer                  $200                            $190
           Engineer                         $175                            $166.25
           Engineer                         $175                            $166.25
           Engineer                         $175                            $166.25


                 31.     The parties further agreed that Rearc would invoice on a monthly basis, with

          payment due within thirty (30) days of receipt of the invoice.

          Q5id Breaches the Agreement and Rearc Demands Payment

                 32.     Beginning on or about April 25, 2022, Rearc began performing the Services and

          subsequently submitted invoices on a monthly basis to the Company.




                                                           6


                                                       6 of    15
      23-11007-cgb
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          NEW YORK  Doc#48
                     Doc#9-5
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                                                                                        Pg 651278/2023
                                                                                           889ofof
NYSCEF DOC. NO. 5                                          116
                                                            16                         RECEIVED NYSCEF: 05/22/2023




                  33.    Importantly, the Company never objected to a single invoice submitted by Rearc or

           any of the amounts sought therein. In fact, it fully paid Rearc for the invoice submitted in June

          2022 for the Services rendered from April 2022 through May 2022.

                  34.    However, though it acknowledged that the invoices and the amounts therein were

          accurate, it abruptly stopped paying any subsequent invoices beginning in June 2022.

                  35.    Thereafter, Varma, on behalf of Rearc, demanded payment for the overdue

          invoices.

           Q5id Makes Repeated and Continuous Promises to Pay Rearc in Full

                  36.    On multiple occasions beginning in or around mid-June 2022, Varma spoke to Levy

            who was Rearc' s main point of contact at the Company - regarding the status of the outstanding

          invoices of Rearc and demanded payment.

                  37.    Levy advised Varma that the Company was also delinquent in paying Xmogrify's

          invoices. However, Levy - who on information and belief was instructed by the Company to

          speak to Varma and to convey Q5id's promises to Rearc on its behalf- advised Varma that he was

          in constant communication with the Company's then-Chief Executive Officer, Steve Larson

          ("Larson"), and then-Chief Information Officer and Chief Technology Officer, Rebecca Wanta

          ("Wanta"), who acknowledged that (i) the invoices and the amounts sought by Rearc were correct;

          (ii) the Company was in breach of the SOW; and (iii) and Rearc was owed payment. However,

          they claimed that the Company did not have sufficient capital to continue to pay for the Services.

                  38.    The Company knew that Rearc would not continue to provide Services unless it

          was paid. As such, to induce Rearc to continue to provide the Services, Larson and Wanta -

          through Levy- advised Varma that the Company was expecting financing from its ongoing capital




                                                            7


                                                       7   of   15
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        23-11007-cgb
           NEW YORKDoc#48
                     Doc#9-5
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                                                                                         Pg 9
                                                                                            90ofof
                                                                                            651278/2023
NYSCEF DOC. NO. 5                                           116
                                                             16                        RECEIVED NYSCEF:        05/22/2023




          raises and that he simply "needed more time." They then promised Varma that if Rearc "stuck it

          out," the Company would pay Rearc in full as soon as it received the expected capital infusion.

                     39.   As such, Rearc continued to provide Services to Q5id, in good faith and in

          accordance with the SOW, and in reliance upon the Company's express promises.

                     40.   However, the Company continued to be delinquent in its payments, and as such,

          the amounts owed to Rearc for services from June through August were nearly half a million

          dollars.

                     41.   Beginning in August 2022, Rearc' s accounting department began sending emails

          almost daily to the Company's accounting department,demandingpayment.

                     42.   Because Rearc had made clear that it could not continue the Services without some

          payment, the Company made a one-time $75,000 payment on September 1, 2022 and another

          payment of $25,000 on November 25, 2022 toward the June 2022 invoices - which was a mere

          fraction of what was owed.

                     43.   Varma thereafter reached out directly to Larson and Wanta and requested a meeting

          to discuss the significant amounts owed to Rearc.

                     44.   During a phone call on September 30, 2022, with Larson, Wanta, Varma, (and

          Xmogrify's principal, Levy), Larson again acknowledged - as the Company had done through

          Levy months earlier- that (i) Rearc's invoices and the amounts sought therein were correct, (ii)

          the Companywas in breach of the Agreement, and (iii) Rearc was owed hundreds of thousands of

          dollars. However, they reiterated that the Company did not have sufficient capital to pay for the

          Services.




                                                             8


                                                        8   of   15
      23-11007-cgb
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          NEW YORK Doc#48
                     Doc#9-5
                          Filed
                     COUNTY   Filed
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                                                                                lawsuitNO.
                                                                               INDEX    Pg
                                                                                        Pg 651278/2023
                                                                                           91
                                                                                           10 of
NYSCEF DOC. NO. 5                                        of
                                                         11616                         RECEIVED NYSCEF:       05/22/2023




                  45.       Again, in order to induce Rearc to continue to provide the Services, Larson and

          Wanta advised Varma that the Company was "so close" to obtaining funding from its ongoing

          capital raises.

                  46.       Larson and Wanta then promised that if Rearc continued to provide the Services,

          all outstanding amounts (which at that time was $476,000) would be paid in full by the end of

          October 2022.

                  47.       As such, Rearc continued to perform its obligations under the SOW.

                  48.       However, the Company again failed to pay the outstanding amounts at the end of

          October.

                  49.       On or about November 2, 2022, Varma again reached out to Larson and Wanta

          demanding payment and requestingan update regarding the Company's capital raise.

                  50.       In a phone call held on or about November 10, 2022, Larson again promised that

          Rearc would be paid what was owed and even apologized to Varma for the Company's missed

          payments. Then, to portray the Company's alleged viability and further induce Rearc to continue

          providing the Services, he offered and later provided Rearc with stock options.

                  51.       Contemporaneously with the above discussions, Varma continued to discuss the

          outstanding payments due to Rearc with Levy. Again, Levy advised that Xmogrify - like Rearc -

          was also owed hundreds of thousands of dollars for the services it was performing for the

          Company, but that Larson and Wanta promised him that Xmogrify- like Rearc - would be paid

          once the Company received additional funding.

                  52.       As such, Rearc provided Services under the SOW until November 30, 2022, when

          it terminatedthe SOW. As a show of good faith and in reliance upon promises thatpayment would

          be forthcoming, it even agreed to provide its Services to the Companyfor free in December.



                                                           9


                                                        9 of   15
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[FILED: 23-11007-cgb
          NEW YORK Doc#48
                     Doc#9-5
                          Filed
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                                                                                lawsuitNO.
                                                                               INDEX    Pg
                                                                                        Pg 651278/2023
                                                                                           92
                                                                                            11 of
NYSCEF DOC. NO. 5
                                                       of
                                                       11616
                                                                                     RECEIVED NYSCEF:         05/22/2023




                   53.   But no good deed goes unpunished, and months passed with no payments from the

          Company.

                   54.   On January 23, 2023, the Company appointed Brian Grant ("Grant") as Chief

          Financial Officer.

                   55.   Thereafter, Varma reached out to Wanta and requested that he be introduced to

          Grant to discuss the outstanding payments to Rearc.

                   56.   In a phone call on February 7, 2023, Grant expressly acknowledged that the

          Company owed over $500,000 to Rearc. However, he reiterated that the Company needed

          additional capital and asked that Varma "work with" them by agreeing to a payment plan.

                   57.   Grant then promised to send a proposed payment plan to Rearc.

                   58.   However, neither Grant, nor anyone else at the Company sent a payment plan to

          Rearc.

          The Company Never Pays Rearc

                   59.   On information and belief, the Company received more than $2.5 million in funding

          since July 2022, and most recently, received $6 million in funding in March 2023. However, rather

          than paying Rearc, the Company's officers, including Larson, paid themselves unapproved

          commissions, and prioritized paying themselves.

                   60.   Q5id did not pay Rearc for the services rendered from June I, 2022 through

          November 30, 2022.

                   61.   To date, Rearc is owed $556,070, plus interest in an amount to be determined.

          Rearc Discovers the Company's Fraudulent Scheme

                   62.   Rearc has since discovered that the Company has engaged in a scheme wherein it

          retains outside contractors to perform services for the Company, breaches their agreements with




                                                     10 of   15
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                                                                                           Pg651278/2023
                                                                                              93
                                                                                              12 of
NYSCEF DOC. NO. 5
                                                             of
                                                             11616                             RECEIVED NYSCEF:           05/22/2023




           such contractors, and fraudulently induces them to continue providing services on the false

           promise that they would be paid when Q5id receives additional capital.1

                     63.   On information and belief, presently, the Company is in breach of at least eleven

           other agreements with outside contractors and other creditors owes more than $5.5 million

           collectively.

                     64.   Rearc has also discovered that the stock options granted to it by the Company have

           no present value, and in fact, would require Rearc to remit money to the Company if it later wishes

           to exercise any of those options.

                     65.   As such, the stock options do not reduce the total amount owed by the Company to

           Rearc for the Services that were provided, accepted, invoiced, and remain unpaid.

                                               FIRST CAUSE OF ACTION
                                                  ACCOUNT STATED

                     66.   Plaintiff re-alleges and incorporates the foregoing paragraphs, as if fully set forth

           herein.

                     67.   Pursuant to the Agreement, Q5id promised to pay Plaintiff in exchange for the

           Services.

                     68.   Plaintiff performed all its obligations under the SOW and performed the Services

           from April 25, 2022 through November 30, 2022, which Services the Company accepted.

                     69.   Plaintiff submitted invoices for the Services, from May 2022 through November

          2022, to the Company.

                     70.   Payment on the invoices was due within thirty (30) days of receipt of the invoices.




                   Two other contractors retained by the Company have commenced lawsuits in the Supreme Court of New
          York. XMogrify LLC v. Q5id, Inc., et al, Index No. 57870/2023 is pending in Westchester County, and Goldstein
          Consulting Services, LLC v. Q5id, Inc., et al, Index No. 803962/2023 is pending in Bronx County.

                                                               11


                                                           11 of    15
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                                                                              INDEX  NO.Pg
                                                                                        Pg651278/2023
                                                                                           94
                                                                                           13 of
NYSCEF DOC. NO. 5                                          of
                                                           11616                          RECEIVED NYSCEF:         05/22/2023




                    71.   Each invoice included (i) the date(s) the Services were performed; (ii) the amounts

          due; (iii) and that payment on the invoices was due within thirty (30) days of receipt of the invoice.

                    72.   Q5id received the invoices from Plaintiff, never objected to any of the issued

          invoices, or the amounts stated therein.

                    73.   On multiple occasions from June 2022 through February 2023, Q5id acknowledged

          that the invoices were true and correct and that the amounts set forth therein were due and owing

          to Plaintiff.

                    74.   On multiple occasions from June 2022 through February 2023, Q5id promised to

          pay the amounts due under the invoices to Plaintiff.

                    75.   Despite demand, the Company has refused to pay the amounts due and owing to

          Plaintiff.

                    76.   As a result of the foregoing, Plaintiff has been damaged in an amount to be proven

          at trial but no less than $556,070, plus interest.

                                            SECOND CAUSE OF ACTION
                                              BREACH OF CONTRACT

                    77.   Plaintiff re-alleges and incorporates the foregoing paragraphs, as if fully set forth

          herein.

                    78.   Plaintiff and Q5id executed the SOW.

                    79.   Pursuant to the SOW, Q5id promised to pay Plaintiff in exchange for the Services.

                    80.   From April 25, 2022 through November 30, 2022, Plaintiff performed all its

          obligations under the SOW.

                    81.   Plaintiff submitted invoices for the Services to the Company, in accordance with

          the SOW and as directed by the Company.




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                                                         12 of      15
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          NEW YORK Doc#48
                     Doc#9-5
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                                                                               INDEX    Pg
                                                                                        Pg 651278/2023
                                                                                           95
                                                                                            14 of
NYSCEF DOC. NO. 5
                                                              of
                                                              11616                     RECEIVED NYSCEF:          05/22/2023




                    82.   QSid received the invoices from Plaintiff, never objected to any of the issued

          invoices, or the amounts stated therein, and continued to accept all Services provided by Plaintiff.

                    83.   Q5id materially breached the Agreement by unlawfully failing to pay the amounts

          due to Plaintiff beginning in June 2022.

                    84.   Despite demand, the Company has refused to pay the amounts due and owing to

          Plaintiff.

                    85.   As a result of the foregoing, Plaintiff has been damaged in an amount to be proven

          at trial but no less than $556,070, plus interest.

                                        THIRD CAUSE OF ACTION
                               IN THE ALTERNATIVE, UNJUST ENRICHMENT

                    86.   Plaintiff re-alleges and incorporates the foregoing paragraphs, as if fully set forth

          herein.

                    87.   From April 25, 2022 through November 30, 2022, Plaintiff performed the Services.

                    88.   Q5id accepted the Services rendered by Plaintiff and was enriched by such Services

          at Plaintiffs expense, as the value of such Services amounted to $556,070, plus interest.

                    89.   Q5id was aware the Plaintiff was not providing the Services gratuitously and that

          the value of such Services amounted to $556,070, plus interest.

                    90.   On multiple occasions since June 2022, Plaintiff demanded that Q5id pay Plaintiff

          for the Services and submitted invoices to Q5id for payment.

                    91.   Q5id received the invoices from Plaintiff, acknowledged the invoices, and never

          objected to any of the invoices, or the amounts sought therein.

                    92.   On multiple occasions, Q5id's management promised that Plaintiff and its

          principal, Varma, that it would pay Plaintiff in full once the Q5id received funding from investors.




                                                               13


                                                         13    of   15
     23-11007-cgb
(FILED: 23-11007-cgb
          NEW YORK Doc#48
                     Doc#9-5
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                                                                                lawsuitNO.
                                                                               INDEX    Pg
                                                                                        Pg 651278/2023
                                                                                           96
                                                                                            15 of
NYSCEF DOC. NO. 5
                                                           of
                                                           11616                          RECEIVED NYSCEF:      05/22/2023




                  93.     Plaintiff and Q5id had a sufficiently close relationship or connection as to cause

          reliance or inducement by Plaintiff. Plaintiff was retained by Q5id as an independent contractor,

          from April 2022 through December 2022.

                  94.     As a result of Q5id's accepting the Services without paying Plaintiff, Plaintiff has

          suffered actual and significant damages. To date, Plaintiff is owed $556,070, plus interest for the

          Services rendered from June 1, 2022 through November 30, 2022.

                  95.     It is against equity and good conscience to permit Q5id to retain the amounts due

          to Plaintiff.

                  96.     Equity and good conscience require restitution to Plaintiff.

                  97.     As a result of the foregoing, Plaintiff has been damaged in an amount to be proven

          at trial but no less than $556,070, plus interest.

                                                PRAYER FOR RELIEF

                  WHEREFORE, Plaintiff respectfully requests Judgment against Defendant:

                  (i)     in the amount of $556,070, plus pre- and post-judgment interest;

                  (ii)    attorney's fees and the costs of this action;

                  (iii)   and such other and further relief as the Court deems proper.

          Dated: May 22, 2023
                 New York, New York


                                                          LAZARE POTTER GIACOV AS
                                                            &MOYLELLP

                                                          By:    Robert A. Giacovas
                                                                 Robert A. Giacovas
                                                                 Anna Pia D. Felix
                                                                 Jacob E. Englander
                                                          74 7 ThirdA venue, 16th Floor
                                                          New York, NY 10017
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                                                         14 of      15
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                                                                                 lawsuitNO.
                                                                                INDEX    Pg
                                                                                         Pg651278/2023
                                                                                            97
                                                                                            16 of
NYSCEF DOC. NO. 5                                                               RECEIVED NYSCEF: 05/22/2023




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                                                 Attorneys for Plaintiff Rearc, LLC




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                                                15 of   15
23-11007-cgb
        23-11007-cgb
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                                                                        Exhibit Pg 98 of
                           answer/counterclaim
                                         116    Pg 1 of 26




               EXHIBIT F
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                               04/08/24
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                                                                             Exhibit Pg 99 of
                                answer/counterclaim
[FILED: NEW YORK COUNTY CLERK 09/08/2023      116    Pg 2 of 26
                                                       01:20 PM]             INDEX NO. 651278/2023
NYSCEF DOC. NO. 10                                                                           RECEIVED NYSCEF:       09/08/2023


          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK
          ----------------------------------------------------------------x
          REARCLLC,
                                           Plaintiff,                         Index No. 651278/23

                    -against-
                                                                              DEFENDANT 051D, INC.'S
          Q5ID, INC.,                                                         ANSWER TO COMPLAINT
                                           Defendant.                         AND COUNTERCLAIMS


          ----------------------------------------------------------------x
          Q5ID, INC.,
                                           Counterclaim-Plaintiff,

                   -against-


          REARCLLC,
                                           Counterclaim-
                                           Defendant.
          ----------------------------------------------------------------x

                   Defendant Q5iD, Inc. ("Defendant" or "Q5iD"), by its attorneys Cowan, Liebowitz &

          Latman, P.C., as and for its Answer to the Complaint (the "Complaint") filed by Plaintiff Rearc,

          LLC ("Plaintiff' or "Rearc") responds to the allegations in the Complaint as follows:

                                              NATURE OF THE ACTIONS

                    1.       Defendant admits that it was founded in 2018 and that it has used the phrase

          "THE premier enterprise cybersecurity software company delivering world-class identity

          management solutions" in certain contexts but denies the remaining allegations contained in

          Paragraph 1 of the Complaint.

                   2.        Defendant admits that it entered into a contract with Plaintiff wherein Defendant

          agreed to pay Plaintiff in exchange for certain software services to be rendered to Defendant but

          states that Plaintiff failed to perform its obligations under the contract and that no further sums are

          owed to Plaintiff, and, further, the Defendant is entitled to a return of money already paid due to


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                                                           1 of   18
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      23-11007-cgb
             23-11007-cgb
                   Doc#48 Doc#9-6
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                                                                      Main Document
                                                                               Exhibit Pg 100
                                 answer/counterclaim
!FILED: NEW YORK COUNTY CLERK 09/08/2023      of 116  Pg 3 of
                                                        01:20 26 Pij          INDEX  NO. 651278/2023
NYSCEF DOC. NO. 10                                                                       RECEIVED NYSCEF:         09/08/2023



          the poor quality of Plaintiffs work and Plaintiff's failure to fulfill its obligations and denies the

          remaining allegations contained in Paragraph 2 of the Complaint.

                   3.       Defendant denies the allegations contained in Paragraph 3 of the Complaint.

                  4.        Defendant admits that it has received investor funding in connection with its

          business but denies the remaining allegations contained in Paragraph 4 of the Complaint.

                   5.       Defendants admits that Plaintiff purports to bring claims against Defendant for

          breach of contract, unjust enrichment and account stated but denies that Plaintiff has established

          such claims and denies liability therefor.

                                                     THE PARTIES

                  6.        Defendants is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 6 of the Complaint.

                  7.        Defendant admits the allegations contained in Paragraph 7 of the Complaint.

                                             JURISDICTION AND VENUE

                  8.        Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 8 of the Complaint.

                  9.        Defendant denies the allegations contained in Paragraph 9 of the Complaint.

                   10.      Defendant admits that it is has engaged in business with Plaintiff, Rearc, LLC

          ("Rearc") and Goldstein Consulting Services, LLC ("GCS"), but is without knowledge or

          information sufficient to form a belief as to the offices or locations of Plaintiff, Rearc or GCS

          and denies the remaining allegations in Paragraph10 of the Complaint.

                   11.     Defendants admits that it has had certain communications with Plaintiff and other

          independentcontractors in New York and otherwise denies the allegations contained in

          Paragraph 11 of the Complaint.




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                                                         2 of     18
      23-11007-cgb
             23-11007-cgb
                   Doc#48 Doc#9-6
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                                                                               Exhibit Pg 101
                                 answer/counterclaim
!FILED: NEW YORK COUNTY CLERK 09/08/2023      of 116  Pg 4 of
                                                        01:20 26 Pij          INDEX  NO. 651278/2023
NYSCEF DOC. NO. 10                                                                       RECEIVED NYSCEF:     09/08/2023



                  12.      Defendant admits that it entered into a written agreement with Plaintiff but is

          without knowledge or information sufficient to form as belief as to the remaining allegations

          contained in Paragraph 12 of the Complaint.

                  13.      Defendants is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 13 of the Complaint.

                  14.      Defendant admits that a member of Defendant's management travelled to New

          York on business but is without knowledge or information sufficient to form a belief as to the

          date of such travel and is without knowledge or information sufficient to form a belief as to the

          remaining allegations contained in Paragraph 14 of the Complaint.

                  15.      Defendants is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 15 of the Complaint.

                  16.      Defendant denies the allegations contained in Paragraph 16 of the Complaint.

                  17.      Defendant admits the allegations contained in Paragraph 17 of the Complaint but

          is without knowledge or information sufficient to form a belief as whether such county is an

          appropriate venue for trial.

                  18.      Defendants is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 18 of the Complaint.

                                             FACTUALBACKGROUND

                  19.      Defendant admits that it was founded in 2018 and that it has used the phrase

          "THE premier enterprisecybersecuritysoftware company delivering world-class identity

          management solutions" in certain contexts but denies the remaining allegations contained in

          Paragraph 19 of the Complaint.

                  20.      Defendant denies the allegations contained in Paragraph20 of the Complaint.

                  21.      Defendant denies the allegations contained in Paragraph21 of the Complaint.



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                                                         3 of   18
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              23-11007-cgb
                    Doc#48 Doc#9-6
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!FILED:                           answer/counterclaim
          NEW YORK COUNTY CLERK 09/08/2023     of 116  Pg 5 of 26
                                                         01: 20 PM)            INDEX  NO. 651278/2023
NYSCEF DOC. NO. 10                                                                       RECEIVED NYSCEF:      09/08/2023



                   22.       Defendant denies the allegations contained in Paragraph 22 of the Complaint.

                   23.       Defendant denies the allegations contained in Paragraph 23 of the Complaint and

          states that Defendant is a startup engaged in product building, marketing and growth.

                   24.       Defendant admits that it had engaged in business with Xmogrify, LLC

          ("Xmogrify") but denies the allegations contained in Paragraph 24 of the Complaint.

                   25.       Defendant admits it entered into a Statement of Work with Plaintiff (the "SOW")

          and refers to that agreement for its terms and otherwise denies the remaining allegations

          contained in Paragraph 25.

                   26.      Defendant refers to the SOW for its terms and otherwise denies the remaining

          allegations contained in Paragraph 26.

                   27.      Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 27 of the Complaint.

                   28.      Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 28 of the Complaint.

                   29.      Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 29 of the Complaint.

                   30.      Defendant admits that the SOW provided that Plaintiff would charge Defendant

          for services renderedat the hourly rates listed in Paragraph 30 of the Complaint, and otherwise

          refers to the SOW for its terms and denies the remaining allegations contained in Paragraph 30 of

          the Complaint.

                   31.      Defendant refers to the SOW for its terms and denies the remainingallegations

          contained in Paragraph31 of the Complaint

                   32.      Defendant denies the allegations contained in Paragraph32 of the Complaint and

          denies that Plaintiff performedthe invoiced services.


                                                             -4-
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                                                         4   of    18
      23-11007-cgb
             23-11007-cgb
                   Doc#48 Doc#9-6
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                                 answer/counterclaim
[FILED: NEW YORK COUNTY CLERK 09/08/2023      of 116  Pg 6 of 26
                                                        01:20 Pij             INDEX  NO. 651278/2023
NYSCEF DOC. NO. 10                                                                         RECEIVED NYSCEF:     09/08/2023



                    33.       Defendant denies the allegations contained in Paragraph 33 of the Complaint and

          denies that Plaintiff perfonned the invoiced services or that the invoices contained sufficient

          detail to adequately describe the services allegedly performed.

                   34.        Defendant admits that it did not pay the full amount invoiced by Plaintiff and

          denies the remaining allegations contained in Paragraph 34 of the Complaint.

                   35.        Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 35 of the Complaint.

                   36.        Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 36 of the Complaint and denies that Plaintiff is due any

          payment or that Plaintiff performed the invoiced services.

                   3 7.       Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 3 7 of the Complaint and denies that Plaintiff is due any

          payment or that Plaintiff performed the invoiced services.

                   38.        Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 38 of the Complaint and denies that Plaintiff is due any

          payment or that Plaintiff performed the invoiced services.

                   39.        Defendant denies the allegations contained in Paragraph 39 of the Complaint.

                   40.        Defendant denies the allegations contained in Paragraph 40 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   41.       Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 41 of the Complaint and denies that Plaintiff is due any

          payment or that Plaintiff performed the invoiced services.




                                                              -5-
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                                                           5 of     18
      23-11007-cgb
             23-11007-cgb
                   Doc#48 Doc#9-6
                          Filed 04/08/24
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                                                            21:35:48 11:40:07
                                                                      Main Document
                                                                              Exhibit Pg 104
                                 answer/counterclaim
(FILED: NEW YORK COUNTY CLERK 09/08/2023      of 116  Pg 7 of 26
                                                        01:20 PM)             INDEX NO. 651278/2023
NYSCEF DOC. NO. 10                                                                       RECEIVED NYSCEF:      09/08/2023



                   42.      Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 42 of the Complaint but states that it did make some

          payments to Plaintiff and otherwise denies that Plaintiff is due any payment or that Plaintiff

          performed the invoiced services.

                   43.      Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 43 of the Complaint and denies that Plaintiff is due any

          payment or that Plaintiff performed the invoiced services.

                   44.      Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 44 of the Complaint and denies that Plaintiff is due any

          payment or that Plaintiff performed the invoiced services.

                   45.      Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 45 of the Complaint and denies that Plaintiff is due any

          payment or that Plaintiff performed the invoiced services.

                  46.       Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 46 of the Complaint and denies that Plaintiff is due any

          payment or that Plaintiff performed the invoiced services.

                  4 7.      Defendant denies the allegations contained in Paragraph 4 7 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                  48.       Defendant denies the allegations contained in Paragraph 48 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.




                                                             -6-
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                                                         6   of    18
      23-11007-cgb
             23-11007-cgb
                   Doc#48 Doc#9-6
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                                                                               Exhibit Pg 105
                                 answer/counterclaim
(FILED: NEW YORK COUNTY CLERK 09/08/2023      of 116  Pg 8 of
                                                        01:20 26 Pij          INDEX  NO. 651278/2023
NYSCEF DOC. NO. 10                                                                       RECEIVED NYSCEF:      09/08/2023



                   49.      Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 49 of the Complaint and denies that Plaintiff is due any

          payment or that Plaintiff performed the invoiced services.

                   50.      Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 50 of the Complaint and denies that Plaintiff is due any

          payment or that Plaintiff performed the invoiced services.

                   51.      Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 51 of the Complaint and denies that Plaintiff is due any

          payment or that Plaintiff performed the invoiced services.

                  52.       Defendant denies the allegations contained in Paragraph 52 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                  53.       Defendant denies the allegations contained in Paragraph 53 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                  54.       Defendant admits that in or around January 2023 Brian Grant ("Grant") was

          appointed as CFO of the Company and denies the remaining allegations contained in Paragraph

          54 of the Complaint.

                  55.       Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 55 of the Complaint and denies that it owes any

          outstanding payments to Plaintiff.

                  56.      Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 56 of the Complaint and denies that it owes any

          outstanding payments to Plaintiff.



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                                                         7   of   18
      23-11007-cgb
             23-11007-cgb
                   Doc#48 Doc#9-6
                          Filed 04/08/24
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                                           Entered 04/08/24
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                                                            21:35:48 11:40:07
                                                                      Main Document
                                                                               Exhibit Pg 106
                                 answer/counterclaim
!FILED: NEW YORK COUNTY CLERK 09/08/2023      of 116  Pg 9 of
                                                        01:20 26 Pij          INDEX  NO. 651278/2023
NYSCEF DOC. NO. 10                                                                        RECEIVED NYSCEF:      09/08/2023



                    57.       Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 57 of the Complaint and denies that it owes any

          outstanding payments to Plaintiff.

                    58.       Defendant is without knowledge or information sufficient to form a belief as to

          the allegations contained in Paragraph 58 of the Complaint and denies that it owes any

          outstanding payments to Plaintiff.

                   59.        Defendant admits that the company received certain funding in March 2023 and at

          other times but denies the remaining allegations contained in Paragraph 59 of the Complaint.

                   60.        Defendant is without knowledge or information sufficient to form a belief as to

          the allegations regarding the communications described in Paragraph 60 of the Complaint and

          denies that it owes any outstanding payments to Plaintiff.

                   61.        Defendant denies the allegations in Paragraph 61 of the Complaint.

                   62.        Defendant denies the allegations contained in Paragraph 62 of the Complaint.

          With respect to the accompanying footnote, Defendant admits that there are pending lawsuits

          involving Defendant and GCS and Xmogrify and that Defendant denies the allegations contained

          in those complaints and any liability therein.

                   63.       Defendant denies the allegations contained in Paragraph 63 of the Complaint.

                   64.       Defendant denies the allegations contained in Paragraph64 of the Complaint.

                   65.       Defendant denies the allegations contained in Paragraph65 of the Complaint.

                                               FIRST CAUSE OF ACTION
                                                  ACCOUNT STATED

                   66.       Defendantrepeats and realleges its responses to Paragraphs1 - 65 as if fully set

          forth herein.




                                                             -8-
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                                                           8 of    18
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!FILED:                           answer/counterclaim
           NEW YORK COUNTY CLERK 09/08/2023     of 116  Pg 10  of
                                                           01:20  26 PM)         INDEX  NO. 651278/2023
NYSCEF DOC. NO. 10                                                                        RECEIVED NYSCEF:        09/08/2023



                     67.       Defendant denies the allegations contained in Paragraph 67 of the Complaint and

           states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                    68.       Defendant denies the allegations contained in Paragraph 68 of the Complaint.

                    69.       Defendant denies the allegations contained in Paragraph 69 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                    70.       Defendant denies the allegations contained   Paragraph 70 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                    71.       Defendant denies the allegations contained in Paragraph 71 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                    72.       Defendant denies the allegations contained in Paragraph 72 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                    73.       Defendant denies the allegations contained in Paragraph 73 of the Complaint and

          states that any              to         was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                    74.       Defendant denies the allegations contained in Paragraph 74 of the Complaint and

          states that any payment to              was conditioned on Plaintiff providing services to Defendant,

                   Plaintiff failed to do.




                                                               -9-
           0000 I /579/4363642.1

                                                           9   of    18
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                          Filed 04/08/24
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!FILED:  NEW YORK COUNTY CLERK          09/08/2023                            INDEX NO. 651278/2023
                                              of 116 Pg01:20
                                answer/counterclaim      11 of 26 PM]
NYSCEF DOC.   NO.   10                                                                      RECEIVED   NYSCEF:    09/08/2023




                    75.      Defendant denies the allegations contained in Paragraph 75 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                    76.      Defendant denies the allegations contained in Paragraph 76 of the Complaint.

                                              SECOND CAUSE OF ACTION
                                                BREACH OF CONTRACT

                    77.      Defendant repeats and realleges its responses to Paragraphs 1 - 76 as if fully set

          forth herein.

                    78.      Defendant admits the allegations contained in Paragraph 78 of the Complaint.

                    79.      Defendant denies the allegations contained in Paragraph 79 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                    80.     Defendant denies the allegations contained in Paragraph 80 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                    81.     Defendant denies the allegations contained in Paragraph 81 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                    82.     Defendant denies the allegations contained in Paragraph 82 of the Complaint and

          states that any payment to Plaintiff was conditioned on              providing services to Defendant,

          which Plaintiff failed to do.

                    83.     Defendant          the allegations contained    Paragraph 83 of the Complaint and

          states that       payment to           was conditioned on Plaintiff providing services to Defendant,

          which



                                                             -1
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                                                          10 of   18
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                   Doc#48 Doc#9-6
                          Filed 04/08/24
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                                answer/counterclaim
!FILED: NEW YORK COUNTY CLERK 09/08/2023      of 116  Pg 12 of
                                                        01:20  26 Pij         INDEX  NO. 651278/2023
NYSCEF DOC. NO. 10                                                                          RECEIVED NYSCEF:      09/08/2023



                    84.      Defendant denies the allegations contained in Paragraph 84 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                    85.      Defendant denies the allegations contained in Paragraph 85 of the Complaint.

                                               THIRD CAUSE OF ACTION
                                  IN THE ALTERNATIVE, UNJUST ENRICHMENT

                    86.      Defendant repeats and realleges its responses to Paragraphs l - 85 as if fully set

          forth herein.

                    87.      Defendant denies the allegations contained in Paragraph 87 of the Complaint.

                    88.      Defendant denies the allegations contained in Paragraph 88 of the Complaint.

                    89.      Defendant denies the allegations contained in Paragraph 89 the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                    90.      Defendant denies the allegations contained in Paragraph 90 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                    91.      Defendant denies the allegations contained in Paragraph 91 the Complaint.

                   92.       Defendant denies the allegations contained in Paragraph 92 of the Complaint and

          states that any payment to Plaintiff was conditioned on Plaintiff providing services to Defendant,

          which Plaintiff failed to do.

                   93.       Defendant denies the allegations contained in Paragraph 93 of the Complaint.

                   94.       Defendant denies the allegations contained in Paragraph 94 of the Complaint.

                   95.       Defendant denies the allegations contained in Paragraph 95 of the Complaint

                   96.       Defendant denies the allegations contained in Paragraph 96 of the Complaint.

                   97.       Defendant denies the allegations contained in Paragraph 97 of the Complaint.

                                                             -11-
           0000 l/579/4363642.1

                                                          11 of     18
      23-11007-cgb
             23-11007-cgb
                   Doc#48 Doc#9-6
                          Filed 04/08/24
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                                                                      Main Document
                                                                               Exhibit Pg 110
                                answer/counterclaim
[FILED: NEW YORK COUNTY CLERK 09/08/2023      of 116  Pg 13 of 26
                                                        01:20 Pij             INDEX  NO. 651278/2023
NYSCEF DOC. NO. 10                                                                        RECEIVED NYSCEF:       09/08/2023



                                     AFFIRMATIVE AND OTHER DEFENSES

                                                      First Defense

                   Plaintiff failed to perform its obligations under the agreements between the parties and is

          therefore barred from any recovery.

                                                    Second Defense

                   To the extent that Plaintiffs claims are based on any oral agreement or oral amendment

          to a written agreement, such claims are barred by the Statute of Frauds.

                                                     Third Defense

                   To the extent Plaintiff has suffered any damages for which the law would provide a

          remedy, which Defendants deny, Plaintiff is not entitled to an award of attorneys' fees.

                                                     Fourth Defense

                   Plaintiffs claims are barred by the principle of equitable estoppel.

                                                      Fifth Defense

                   Plaintiffs claim for unjust enrichment is barred as duplicative of Plaintiffs contract

          claim.

                                                           ***

                   WHEREFORE, Defendant Q5iD respectfully requests judgment in its favor, that

          Plaintiffs claims be dismissed in their entirety, an award of attorneys' fees and costs, an award

          of prejudgment and post-judgment interest at the highest rate allowed by law, and such other

          further relief as the Court deems just and proper.




                                                 COUNTERCLAIMS

                   Q5iD, Inc. ("Counterclaim Plaintiff' or "Q5iD"), by its attorneys Cowan, Liebowitz &

          Latman, P.C., brings these counterclaims against Goldstein Consulting Services, LLC

          ("Counterclaim Defendant" or "Rearc") for breach of the SOW, MNDA, and other agreements
                                                           -12-
          00001/579/4363642.1

                                                        12 of     18
      23-11007-cgb
             23-11007-cgb
                   Doc#48 Doc#9-6
                          Filed 04/08/24
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                                                                      Main Document
                                                                               Exhibit Pg 111
!FILED:  NEW YORK COUNTY CLERK  answer/counterclaim
                                              of 116 Pg 01:20
                                        09/08/2023       14 of 26 Pij         INDEX NO. 651278/2023
NYSCEF DOC. NO. 10                                                                      RECEIVED NYSCEF:       09/08/2023



          between the parties due to Rearc 's failure to performthe services requiredand for breach of the

          confidentiality provision therein.As a result of Rearc's breaches, Q5iD seeks a refund of the

          amounts paid by Q5iD to Rearc and damages due to breach of confidentiality.

                                                        PARTIES

                   1.       Counterclaim-Plaintiff Q5id is a corporation organized under the laws of Oregon,

          with its headquarters at 801 Barton Springs, Austin, Texas and 800 Bellevue Way NE, Bellevue,

          Washington.

                   2.       Upon information and belief, Counterclaim-Defendant Rearc is a New York limited

          liability company with its principal place of business 1216 Broadway, Suite 218, New York, New

          York.

                                            JURISDICTION AND VENUE

                   3.       This Court has jurisdiction over this counterclaim pursuant to CPLR § 3019.

                   4.       Venue is proper because Rearc is located in New York County, New York.

                                                         FACTS

                   5.       Q5iD is an enterprise cybersecurity software identity management company

          providing enterprise technology products.

                   6.       Upon information and belief, Rearc is a consulting firm.

                   7.       On April 7, 2022, Q5id and Rearc entered into a MutualNon-Disclosure Agreement

          (the "MNDA"), governing confidential information learned by either party in the course of the

          business transaction that they were at that time planning to enter into (the "Transaction").

                   8.       On April 25, 2022, Q5iD entered executed a Statement of Work (the "SOW") with

          Rearc. The SOW established the terms of the Transactionthat was governed by the MNDA.

                   9.       The MNDA included a confidentiality provision that provided that Rearc was not

          to disclose any data or informationrelating to the business of Q5iD that Q5iD would reasonably


                                                           -13-
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                                                        13 of     18
        23-11007-cgb
               23-11007-cgb
                     Doc#48 Doc#9-6
                            Filed 04/08/24
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                                             Entered 04/08/24
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                                                              21:35:48 11:40:07
                                                                        Main Document
                                                                                 Exhibit Pg 112
[FILED:                           answer/counterclaim
           NEW YORK COUNTY CLERK 09/08/2023     of 116  Pg 15 of
                                                          01:20  26 PM)         INDEX  NO. 651278/2023
NYSCEF DOC. NO. 10                                                                       RECEIVED NYSCEF:         09/08/2023



          be considered to be proprietary, including business plans related to any financial or strategic

          partnerships, investor information, client records, and information not generally known in the

          industry regarding Q5iD.         Further, such information was deemed confidential regardless of

          whether it was provided before or after the date of the MSA or how it was provided to Rearc, and

          such obligations survived the termination of the MSA.

                    10.       During the course of the relationship between Q5iD and Rearc, Rearc submitted

          invoices to Q5iD notwithstanding that it did not perform the agreed upon services, or, alternatively,

          for services that were deficient, inadequate and not in accordance with standard protocols and

          procedures in the mdustry.

                    11.       In or around March 2023, Q5iD conducted an internal audit to review the services

          allegedly provided by Rearc and for which Rearc had been submitting invoices to Q5iD. The audit

          revealed that Rearc and its business associates GCS and Xmogrify had not been performing the

          services they had been engaged to perform, and, in the alternative, any services that were provided

          were deficient and substandard. In fact, no work product, artifacts or accompanying data,

          worksheets, manuals or other materials have been provided to Q5iD despite Plaintiffs demands

          for payment.

                    12.      Any payments due to Rearc were conditioned upon Rearc's performance of its

          obligations under the SOW or any other contracts upon which Rearc relies. Thus, Q5iD does not

          have any payment obligations to Rearc and is entitled to a return of sums already paid.

                    13.      On May 22, 2023, Rearc publicly filed the Complaint in this action against Q5iD

          for account stated, breach of contract, and unjust enrichment.

                   14.       In the Complaint, Rearc disclosed proprietary and confidential business

          information relating to Q5iD in violation of the confidentiality provision in the MNDA, including

          payment records, investor information and business processes and practices.


                                                            -14-
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                                                         14 of     18
      23-11007-cgb
             23-11007-cgb
                   Doc#48 Doc#9-6
                          Filed 04/08/24
                                    Filed 12/19/23
                                           Entered 04/08/24
                                                    Entered 12/19/23
                                                            21:35:48 11:40:07
                                                                      Main Document
                                                                               Exhibit Pg 113
!FILED:  NEW YORK COUNTY CLERK          09/08/2023                            INDEX NO. 651278/2023
                                              of 116 Pg01:20
                                answer/counterclaim      16 of 26 PM]
NYSCEF DOC. NO. 10                                                                        RECEIVED NYSCEF:         09/08/2023



                   15.       Further,on or about May 26, 2023, Rearc sent an email to certain persons disclosing

          details regarding the parties' business relationship and the disputes between the parties, in breach

          of the confidentiality provision of the MNDA. Rearc has further threatened to reveal additional

          confidential information in an effort to obtain leverage in this dispute.

                   16.       Q5iD's investigation into Rearc's conduct is still ongoing and it is likely to find

          additional unauthorized disclosure of confidential and proprietary information in breach of the

          MNDA.

                   17.       As a result of Rearc's actions, Q5iD has been damaged and its reputation has been

          harmed,causing damage in an amount to be determinedat trial.

                   18.       Rearc' s unlawful activities have also resulted in irreparable harm and injury to

          Q5iD for which Q5iD has no adequate remedy at law, and Rearc must be further restrained to

          prevent further disclosure and harm to Q5iD.

                   19.       As a result of Rearc' breaches of the MNDA, Q5iD is entitled to an injunction

          prohibiting further disclosure of confidential information and to damages, in an amount to be

          determined at trial.

                                                        COUNTI
                                                   (Breach of Contract)

                   20.      Q5iD realleges paragraphs 1 through 19 above, as fully set forth herein.

                   21.      Q5iD and Rearc formed an agreement, the MNDA, through which Rearc would

          provide certain services to Q5iD.

                   22.      Rearc did not perform the consulting services it had contracted to perform under

          the MDNA.

                   23.      QSiD performed by making some payments to Rearc under the MDNA but is

          relieved of furtherobligations under the MDNA due to Rearc's nonperformanceand deficient

          performance.

                                                            -15-
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                                                         15 of     18
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                   Doc#48 Doc#9-6
                          Filed 04/08/24
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                                           Entered 04/08/24
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                                                                      Main Document
                                                                               Exhibit Pg 114
(FILED:  NEW YORK COUNTY CLERK  answer/counterclaim
                                              of 116 Pg01:20
                                        09/08/2023       17 of 26 Pij         INDEX NO. 651278/2023
NYSCEF DOC. NO. 10                                                                        RECEIVED NYSCEF:         09/08/2023



                  24.      As a result of this breach, Q5iD has incurred losses by paying for services that were

          not performed or were not performed satisfactorily.

                  25.      Accordingly, Q5iD is entitled to a return of the amounts paid by Q5iD to Rearc

          under the MDNA.

                                                      COUNT II
                                              (Breach of Confidentiality)

                  26.      Q5iD realleges paragraphs l through 25 above, as fully set forth herein.

                  27.      Q5iD and Rearc formed an agreement, the MNDA, which provided that Rearc

          would maintaincertain business and proprietary information of Q5iD in confidence and would not

          disclose such information publicly.

                  28.      Rearc disclosed confidential information of Q5iD by publicly filing the Complaint

          which contained proprietary and confidential business information relating to the business of

          Q5iD, including payment records, investor information and business processes and practices.

                  29.      Further, on or about May 26, 2023, Rearc sent an email publicly disclosing

          confidential information and has threatened to disclose additional information.

                  30.      Q5iD has been damaged by the public disclosure of its confidential information by

          Rearc in an amount to be determined at trial.

                  31.      As a result of Rearc's wrongful conduct, Q5iD has sustained, and will continue to

          sustain, immediate irreparable harm and incalculable monetary loss.

                                                PRAYER FOR RELIEF

                  WHEREFORE,Q5iD respectfully demandsjudgment against Rearc and respectfully

          requests that:

                  1.       The Court grantjudgment in favor of Q5iD and against Rearc on all of Q5iD' s

                           claims;



                                                           -16-
          00001/579/4363642.1

                                                        16 of     18
      23-11007-cgb
             23-11007-cgb
                   Doc#48 Doc#9-6
                          Filed 04/08/24
                                    Filed 12/19/23
                                           Entered 04/08/24
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                                                                      Main Document
                                                                               Exhibit Pg 115
!FILED:  NEW YORK COUNTY CLERK  answer/counterclaim
                                              of 116 Pg 01:20
                                        09/08/2023       18 of 26 Pij         INDEX NO. 651278/2023
NYSCEF DOC. NO. 10                                                                         RECEIVED NYSCEF:      09/08/2023



                  2.       The Court issue a permanent injunction against Rearc and its officers, agents,

                           subsidiaries, servants, partners, employees, attorneys, and all others in active

                           concert or participation with it:

                           a. requiring Rearc to return or destroy all of Q5iD's Confidential Information;

                           b. enjoining Rearc from using or disclosing Q5iD's Confidential Information to

                                any party, at any time, and for any reason;

                           c. requiring Rearc to provide an accounting of the whereabouts of, and the

                                names of all persons given access to or who otherwise viewed, Q5iD' s

                                Confidential Information, including all files, data, information removed,

                                downloaded, transferred or forwarded to any third-parties or unauthorized

                                employees or contractors,

                           d. requiring Rearc to delete all content obtained from Q5iD anywhere it may

                                reside, including the computer system and servers of Rearc or on any other

                                computer, electronic device, or cloud accounts, hard copy documents, or any

                                other materials in Rearc's possession, custody, or control; and

                           e. requiring Rearc to provide written certification to Q5iD' s counsel of its

                                compliance with paragraph (d) above;

                  3.       The Court award Q5iD a judgment against Rearc on the above claims in an

                           amount of damages as may be proven at trial, including the disgorgement of any

                           profits, benefits, or compensation received as a result of Rearc's misconduct;

                  4.       The Court award of attorneys' fees and costs, an award of prejudgment and post-

                           judgment interest at the highest rate allowed by law, and such other further relief

                           as the Court deems just and proper.




                                                               -17-
          00001/579/4363642.1

                                                         17 of        18
      23-11007-cgb
             23-11007-cgb
                   Doc#48 Doc#9-6
                          Filed 04/08/24
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                                                                      Main Document
                                                                               Exhibit Pg 116
[FILED:  NEW YORK COUNTY CLERK          09/08/2023                            INDEX NO. 651278/2023
                                              of 116 Pg 01:20
                                answer/counterclaim      19 of 26 Pij
NYSCEF DOC. NO. 10                                                                       RECEIVED NYSCEF:   09/08/2023



                   5.       The Court grant Q5iD such other and further relief as the Court deems just,

                            equitable, and proper.



          Dated: New York, New York                                                     & LATMAN, P.C.
                 September 8, 2023


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          74 7      Avenue, 16th Floor
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